                              CERTIFICATE OF TRANSLATION


I, Bingjie Liu, an attorney licensed in the State of New York (United States) and a court-certified

interpreter of the State Court of the State of New York, am competent to translate from Chinese

into English, and certify that the translation of documents attached to this certificate is true and

accurate to the best of my abilities.




_________________________

Bingjie Liu



Date: 6/26/2023
EXHIBIT 3
                                                  Shanghai Value Added Tax Electronic General Invoice
                                                                        (seal)
                                                                                                                      Invoice Code: 031001700211
                                                                                                                            Invoice No.: 40171385
                                                                                                                         Invoiced Date: 11/13/2019
Purchaser    Name:                 NetQin Infinity (Beijing)                   passcode
                                   Technology Co., Ltd.
             Taxpayer              911101086615514831
             Identification No.:
             Address and Phone
             Bank Account No.:
The name of the Goods or Taxed     Specification Model         Unit            Number         Price     Total   Tax Rate         Taxes
Labor or Service
App: Scan King v.1.0                                                                                    22.12   13%              2.88




                                                                                      Total   25
Amount
Seller       Name:                 Shanghai Linguan Data                       Note
                                   Technology Co., Ltd
             Taxpayer              91310106MA1FY9LT3N                                         [SEAL]
             Identification No.:
             Address and Phone
             Bank Account No.:     CCB Shanghai                                               Issuer:
                                                  Beijing Value Added Tax Electronic General Invoice
                                                                        (seal)
                                                                                                                              Invoice Code: 0011001900511
                                                                                                                                     Invoice No.: 110499738
                                                                                                                                   Invoiced Date:12/13/2019
                                                                                                               Verification code: 03756 35205 70029 14676
Purchaser   Name:                 NetQin Infinity (Beijing)                   passcode
                                  Technology Co., Ltd.
            Taxpayer              911101086615514831
            Identification No.:
            Address and Phone     Beijing City, Haidian
                                  District Dongbeiwang Xi
                                  Road No.8 Building,
                                  Building No.4, Floor 3,
                                  Room 317
            Bank Account No.:     China Merchants Bank,
                                  Beijing Chaowaidajie
                                  Branch
The name of the Goods or Taxed    Specification Model         Unit            Number         Price     Total          Tax Rate            Taxes
Labor or Service
Express Delivery                                              Time            1              12.26     12.26          6%                  0.74




                                                                                     Total   13.00
Amount
Seller      Name:                 Beijing Shunfeng Express                    Note
                                  Delivery Co., Ltd
            Taxpayer              91110113762151550Q                                         [SEAL]
            Identification No.:
            Address and Phone
            Bank Account No.:                                                                Issuer:
                                                  Beijing Value Added Tax Electronic General Invoice
                                                                        (seal)
                                                                                                                     Invoice Code: 011001900611
                                                                                                                             Invoice No. 8795826
                                                                                                                        Invoiced Date: 01/08/2020
Purchaser   Name:                 NetQin Infinity (Beijing)                   passcode
                                  Technology Co., Ltd.
            Taxpayer              911101086615514831
            Identification No.:

             Address and Phone
             Bank Account No.:
The name of the Goods or Taxed    Specification Model         Unit            Number         Price     Total   Tax Rate         Taxes
Labor or Service
Drink Nongfu Water                                            Box             3              32.65     97.96   13%              12.74




                                                                                     Total   110.70
Amount
Seller      Name:                                                             Note
            Taxpayer              Weimile (Beijing) Trade                                    [SEAL]
            Identification No.:   Co., Ltd
            Address and Phone     911101053530279707
            Bank Account No.:     China Merchants Bank                                       Issuer:
                                                  Beijing Value Added Tax Electronic General Invoice
                                                                        (seal)
                                                                                                                              Invoice Code: 0011001900511
                                                                                                                                     Invoice No.: 10499741
                                                                                                                                  Invoiced Date:12/13/2019
                                                                                                               Verification code: 13013 11306 50174 35284
Purchaser   Name:                 NetQin Infinity (Beijing)                   passcode
                                  Technology Co., Ltd.
            Taxpayer              911101086615514831
            Identification No.:
            Address and Phone     Beijing City, Haidian
                                  District Dongbeiwang Xi
                                  Road No.8 Building,
                                  Building No.4, Floor 3,
                                  Room 317
            Bank Account No.:     China Merchants Bank,
                                  Beijing Chaowaidajie
                                  Branch
The name of the Goods or Taxed    Specification Model         Unit            Number         Price     Total          Tax Rate           Taxes
Labor or Service
Express Delivery                                              Time            1              12.26     12.26          6%                 0.74




                                                                                     Total   13.00
Amount
Seller      Name:                 Beijing Shunfeng Express                    Note
                                  Delivery Co., Ltd
            Taxpayer              91110113762151550Q                                         [SEAL]
            Identification No.:
            Address and Phone
            Bank Account No.:                                                                Issuer:
                                                  Beijing Value Added Tax Electronic General Invoice
                                                                        (seal)
                                                                                                                              Invoice Code: 0011001900611
                                                                                                                                     Invoice No.: 17779958
                                                                                                                                  Invoiced Date:01/08/2020
                                                                                                               Verification code: 13946 40384 61178 39626
Purchaser   Name:                 NetQin Infinity (Beijing)                   passcode
                                  Technology Co., Ltd.
            Taxpayer              911101086615514831
            Identification No.:
            Address and Phone     Beijing City, Haidian
                                  District Dongbeiwang Xi
                                  Road No.8 Building,
                                  Building No.4, Floor 3,
                                  Room 317
            Bank Account No.:     China Merchants Bank,
                                  Beijing Chaowaidajie
                                  Branch
The name of the Goods or Taxed    Specification Model         Unit            Number         Price     Total          Tax Rate           Taxes
Labor or Service
Express Delivery                                              Time            1              12.26     12.26          6%                 0.74




                                                                                     Total   13.00
Amount
Seller      Name:                 Beijing Shunfeng Express                    Note
                                  Delivery Co., Ltd
            Taxpayer              91110113762151550Q                                         [SEAL]
            Identification No.:
            Address and Phone
            Bank Account No.:                                                                Issuer:
TAXI Invoice                TAXI Invoice
111001881003                111001881002
99690615                    83064584

[part of invoice omitted[   [part of invoice omitted[

Date: 1-02-2020             Date: 1-02-2020

[part of invoice omitted[   [part of invoice omitted[


Amount: 35.00               Amount: 35.00
                                                  Shanghai Value Added Tax Electronic General Invoice
                                                                        (seal)
                                                                                                                                Invoice Code: 031001700311
                                                                                                                                      Invoice No.: 69731548
                                                                                                                                   Invoiced Date: 01/13/2020
                                                                                                                Verification Code: 03740 07680 56096 25800
Purchaser    Name:                 NetQin Infinity (Beijing)                   passcode
                                   Technology Co., Ltd.
             Taxpayer              911101086615514831
             Identification No.:
             Address and Phone
             Bank Account No.:
The name of the Goods or Taxed     Specification Model         Unit            Number         Price     Total           Tax Rate           Taxes
Labor or Service
App: Scan King v.1.0                                                                                    22.12           13%                2.88




                                                                                      Total   25
Amount
Seller       Name:                 Shanghai Linguan Data                       Note
                                   Technology Co., Ltd
             Taxpayer              91310106MA1FY9LT3N                                         [SEAL]
             Identification No.:
             Address and Phone
             Bank Account No.:     CCB Shanghai                                               Issuer:
                                                 Guangdong Value Added Tax Electronic General Invoice
                                                                       (seal)
                                                                                                                                Invoice Code: 044001505111
                                                                                                                                      Invoice No.: 84343499
                                                                                                                                    Invoiced Date: 3/2//2020
                                                                                                                Verification Code: 44241 58758 08860 46207
Purchaser    Name:                 NetQin Infinity (Beijing)                  passcode
                                   Technology Co., Ltd.
             Taxpayer              911101086615514831
             Identification No.:
             Address and Phone
             Bank Account No.:
The name of the Goods or Taxed     Specification Model         Unit           Number         Price      Total           Tax Rate           Taxes
Labor or Service
Information Technology WPS                                     Month          1              14.14      14.15           6%                 0.85
membership




                                                                                     Total   15
Amount
Seller       Name:                 Zhuhai Jinshan Office                      Note
                                   Software Co.,Ltd.
             Taxpayer              91440400696437955B                                        [SEAL]
             Identification No.:
             Address and Phone
             Bank Account No.:     Bank of Communications                                    Issuer:
                                                  Shanghai Value Added Tax Electronic General Invoice
                                                                        (seal)
                                                                                                                                Invoice Code: 031001700311
                                                                                                                                      Invoice No.: 69967056
                                                                                                                                   Invoiced Date: 02/13/2020
                                                                                                                Verification Code: 01740 41352 99781 74878
Purchaser    Name:                 NetQin Infinity (Beijing)                   passcode
                                   Technology Co., Ltd.
             Taxpayer              911101086615514831
             Identification No.:
             Address and Phone
             Bank Account No.:
The name of the Goods or Taxed     Specification Model         Unit            Number         Price     Total           Tax Rate           Taxes
Labor or Service
App: Scan King v.1.0                                                                                    22.12           13%                2.88




                                                                                      Total   25
Amount
Seller       Name:                 Shanghai Linguan Data                       Note
                                   Technology Co., Ltd
             Taxpayer              91310106MA1FY9LT3N                                         [SEAL]
             Identification No.:
             Address and Phone
             Bank Account No.:     CCB Shanghai                                               Issuer:
                                                                                                      China Merchants Bank



Receipt Notice



Date: 6/29/2020          Original Transaction No.: 0142340242619

Payment Method: QR Code

Actual Receipt: RMB 20.00

Summary of Cost:         NetQin Infinity (Beijing) Technology Co., Ltd.



Note:

Summary of Cost:                                   The Amount need to pay   Actual Paid   Date            Amount

Payment for printing bank statements               RMB 20.00                RMB 20.00     6-29-2020       RMB 20.00
                                               (    ) Reimbursement Form

Company:                7/9/2020
 Summary                                                      Reimbursement to Kun Hao
 Amount                                                       8500
 Number of Attached Invoice

Reviewer:                          Review   Verified or Checked             Handled by:
                                                                                                   China Merchants Bank



Receipt Notice



Date: 7/23/2020       Transaction No.: 121394801517030

Payment Method: QR Code

Actual Receipt: RMB 20.00

Summary of Cost:      NetQin Infinity (Beijing) Technology Co., Ltd.



Note:

Summary of Cost:                                The Amount need to pay   Actual Paid   Date            Amount

Receipt Fees                                    RMB 20.00                RMB 20.00     6-29-2020       RMB 20.00
                                                                                                   China Merchants Bank



Receipt Notice



Date: 6/28/2020       Transaction No.: 0142340242521

Payment Method: QR Code

Actual Receipt: RMB 20.00

Summary of Cost:      NetQin Infinity (Beijing) Technology Co., Ltd.



Note:

Summary of Cost:                                The Amount need to pay   Actual Paid   Date            Amount

Receipt Fees                                    RMB 40.00                RMB 40.00     6-29-2020       RMB 40.00
                                                                                                       China Merchants Bank



Receipt Notice



Date: 6/28/2020          Transaction No.: 0119240447389

Payment Method: QR Code

Actual Receipt: RMB 180.00

Summary of Cost:         NetQin Infinity (Beijing) Technology Co., Ltd.



Note:

Summary of Cost:                                    The Amount need to pay   Actual Paid   Date            Amount

Receipt Fees-payment for printing bank statements   RMB 180.00               RMB 180.00    6-28-2020       RMB 180.00

(over years)
                                                                                                       China Merchants Bank



Receipt Notice



Date: 6/29/2020           Transaction No.: 0119240447389

Payment Method: QR Code

Actual Receipt: RMB 3680.00

Summary of Cost:          NetQin Infinity (Beijing) Technology Co., Ltd.



Note:

Summary of Cost:                                    The Amount need to pay   Actual Paid   Date            Amount

Receipt Fees-payment for reprinting transaction     RMB 3680.00              RMB 3680.00   6-29-2020       RMB 3680.00

Receipts (over years)
Receipt Notice



Date: 7/6/2020            Transaction No.: 0128570344503

Payment Method: QR Code

Actual Receipt: RMB 2440.00

Summary of Cost:          NetQin Infinity (Beijing) Technology Co., Ltd.



Note:

Summary of Cost:                                    The Amount need to pay   Actual Paid   Date       Amount

Receipt Fees-payment for reprinting transaction     RMB 2440.00              RMB 2440.00   7-6-2020   RMB 2440.00

receipts (over years)
Receipt Notice



Date: 6/24/2020           Transaction No.: 0139490151822

Payment Method: QR Code

Actual Receipt: RMB 2120.00

Summary of Cost:



Note:

Summary of Cost:                                  The Amount need to pay   Actual Paid   Date        Amount

Receipt Fees-payment for reprinting transaction   RMB 2120.00              RMB 2120.00   6-24-2020   RMB 2120.00

receipts (over years)
                                                Guangdong Value Added Tax Electronic General Invoice
                                                                      (seal)
                                                                                                                               Invoice Code: 044002000311
                                                                                                                                      Invoice No.: 31160847
                                                                                                                                    Invoiced Date:9/24/2020
                                                                                                               Verification Code: 46145 03642 29657 73955
Purchaser   Name:                 NetQin Infinity (Beijing)                  passcode
                                  Technology Co., Ltd.
            Taxpayer              911101086615514831
            Identification No.:
            Address and Phone     Beijing City, Haidian
                                  District Dongbeiwang Xi
                                  Road No.8 Building,
                                  Building No.4, Floor 3,
                                  Room 317
            Bank Account No.:     China Merchants Bank,
                                  Beijing Chaowaidajie
                                  Branch
The name of the Goods or Taxed    Specification Model         Unit           Number         Price      Total           Tax Rate           Taxes
Labor or Service
Transportation fees: Ticket                                                                            1963.3          9%                 176.70
Charged Air industry fund                                                                              50




                                                                                    Total   2190
Amount
Seller      Name:                 China Southern Airlines                    Note
                                  Co., Ltd.
            Taxpayer              91440000100017600N                                        [SEAL]
            Identification No.:
            Address and Phone
            Bank Account No.:     ICBC                                                      Issuer:
                                                  Beijing Value Added Tax Electronic General Invoice
                                                                        (seal)
                                                                                                                                      No. 13985124
                                                                                                                            Invoiced Date: 9/22/2019

Purchaser   Name:                 NetQin Infinity (Beijing)                   passcode
                                  Technology Co., Ltd.
            Taxpayer              911101086615514831
            Identification No.:
            Address and Phone     Beijing City, Haidian
                                  District Dongbeiwang Xi
                                  Road No.8 Building,
                                  Building No.4, Floor 3,
                                  Room 317
            Bank Account No.:     China Merchants Bank,
                                  Beijing Chaowaidajie
                                  Branch
The name of the Goods or Taxed    Specification Model         Unit            Number         Price     Total     Tax Rate          Taxes
Labor or Service
Accommodation Cost                                                            2              750.94    1501.89   6%                90.11




                                                                                     Total   1592.00
Amount
Seller      Name:                 Beijing Friendship Hotel                    Note
                                  Co., Ltd
            Taxpayer              911100001011053549                                         [SEAL]
            Identification No.:
            Address and Phone
            Bank Account No.:                                                                Issuer:
                                                Guangdong Value Added Tax Electronic General Invoice
                                                                      (seal)
                                                                                                                           Invoice Code: 044002000311
                                                                                                                                  Invoice No.: 31125340
                                                                                                                                Invoiced Date:9/24/2020
                                                                                                          Verification Code: 58419 10952 036697 25336
Purchaser   Name:                 NetQin Infinity (Beijing)                  passcode
                                  Technology Co., Ltd.
            Taxpayer              911101086615514831
            Identification No.:
            Address and Phone     Beijing City, Haidian
                                  District Dongbeiwang Xi
                                  Road No.8 Building,
                                  Building No.4, Floor 3,
                                  Room 317
            Bank Account No.:     China Merchants Bank,
                                  Beijing Chaowaidajie
                                  Branch
The name of the Goods or Taxed    Specification Model         Unit           Number         Price      Total       Tax Rate           Taxes
Labor or Service
Transportation fees: Ticket                                                                            2752.29     9%                 247.71
Charged Air industry fund                                                                              50




                                                                                    Total   3050.00
Amount
Seller      Name:                 China Southern Airlines                    Note
                                  Co., Ltd.
            Taxpayer              91440000100017600N                                        [SEAL]
            Identification No.:
            Address and Phone
            Bank Account No.:     ICBC                                                      Issuer:
Xingye Bank

Transaction No.: 22020031082032799

Transaction Amount: 30100.00

Transaction Amount: 30100.00

Transaction Cost: 0.00

Recipient’s Name: Beijing Dingye Law Firm

Recipient’s Account: 110010 853000 56030423

Recipient’s Bank: CCB

Transaction Type: In time transaction between different banks

Payer: Lilin Guo

Payer’s Account: 6229 **** 8318*

Payer’s Bank: Xingye Bank

Note: Payment of attorney fees on behalf of NetQin Infinity

Transaction Date: 03/10/2020
                                            (    ) Reimbursement Form

Company:                3/11/2020
 Summary                                                   Translation Cost
 Amount                                                    7207.00
 Number of Attached Invoice

Reviewer:                       Review   Verified or Checked                  Handled by:
                                                   Beijing Value Added Tax Electronic General Invoice
                                                                         (seal)

                                                                                                                               Invoice No.: 84188821
                                                                                                                             Invoiced Date:3/10/2020

Purchaser   Name:                 NetQin Infinity (Beijing)                    passcode
                                  Technology Co., Ltd.
            Taxpayer              911101086615514831
            Identification No.:
            Address and Phone     Beijing City, Haidian
                                  District Dongbeiwang Xi
                                  Road No.8 Building,
                                  Building No.4, Floor 3,
                                  Room 317
            Bank Account No.:     China Merchants Bank,
                                  Beijing Chaowaidajie
                                  Branch
The name of the Goods or Taxed    Specification Model          Unit            Number         Price     Total     Tax Rate         Taxes
Labor or Service
Translation Service                                                                                     1051.49   1%               10.51




                                                                                      Total   1062.00
Amount
Seller      Name:                 Beijing Baijia Translation                   Note
                                  Service Co., Ltd
            Taxpayer              911101017235862525                                          [SEAL]
            Identification No.:
            Address and Phone
            Bank Account No.:     CCB                                                         Issuer:
                                                   Beijing Value Added Tax Electronic General Invoice
                                                                         (seal)

                                                                                                                               Invoice No.: 84188820
                                                                                                                             Invoiced Date:3/10/2020

Purchaser   Name:                 NetQin Infinity (Beijing)                    passcode
                                  Technology Co., Ltd.
            Taxpayer              911101086615514831
            Identification No.:
            Address and Phone     Beijing City, Haidian
                                  District Dongbeiwang Xi
                                  Road No.8 Building,
                                  Building No.4, Floor 3,
                                  Room 317
            Bank Account No.:     China Merchants Bank,
                                  Beijing Chaowaidajie
                                  Branch
The name of the Goods or Taxed    Specification Model          Unit            Number         Price     Total     Tax Rate         Taxes
Labor or Service
Translation Service                                                                                     6084.15   1%               68.14




                                                                                      Total   6145.00
Amount
Seller      Name:                 Beijing Baijia Translation                   Note
                                  Service Co., Ltd
            Taxpayer              911101017235862525                                          [SEAL]
            Identification No.:
            Address and Phone
            Bank Account No.:     CCB                                                         Issuer:
                                               (    ) Reimbursement Form

Company:                4/9/2020
 Summary                                                      Translation Cost 629.70; express delivery costs13.00 and office costs 1853.00
 Amount                                                       2495.70
 Number of Attached Invoice

Reviewer:                          Review   Verified or Checked               Handled by:
                                                       Value Added Tax Electronic General Invoice
                                                                        (seal)

                                                                                                                              Invoice No.: 84189043
                                                                                                                             Invoiced Date:4/4/2020

Purchaser   Name:                 NetQin Infinity (Beijing)                    passcode
                                  Technology Co., Ltd.
            Taxpayer              911101086615514831
            Identification No.:
            Address and Phone     Beijing City, Haidian
                                  District Dongbeiwang Xi
                                  Road No.8 Building,
                                  Building No.4, Floor 3,
                                  Room 317
            Bank Account No.:     China Merchants Bank,
                                  Beijing Chaowaidajie
                                  Branch
The name of the Goods or Taxed    Specification Model          Unit            Number         Price     Total     Tax Rate        Taxes
Labor or Service
Translation Service                                                                                     1834.65   1%              13.84




                                                                                      Total   1853.00
Amount
Seller      Name:                 Beijing Baijia Translation                   Note
                                  Service Co., Ltd
            Taxpayer              911101017235862525                                          [SEAL]
            Identification No.:
            Address and Phone
            Bank Account No.:     CCB                                                         Issuer:
                                                  Shanghai Value Added Tax Electronic General Invoice
                                                                        (seal)
                                                                                                                      Invoice Code: 031001700311
                                                                                                                            Invoice No.: 71692743
                                                                                                                          Invoiced Date: 3/13/2020
Purchaser    Name:                 NetQin Infinity (Beijing)                   passcode
                                   Technology Co., Ltd.
             Taxpayer              911101086615514831
             Identification No.:
             Address and Phone
             Bank Account No.:
The name of the Goods or Taxed     Specification Model         Unit            Number         Price     Total   Tax Rate         Taxes
Labor or Service
App: Scan King v.1.0                                                                                    22.12   13%              2.88




                                                                                      Total   25
Amount
Seller       Name:                 Shanghai Linguan Data                       Note
                                   Technology Co., Ltd
             Taxpayer              91310106MA1FY9LT3N                                         [SEAL]
             Identification No.:
             Address and Phone
             Bank Account No.:     CCB Shanghai                                               Issuer:
                                                  Beijing Value Added Tax Electronic General Invoice
                                                                        (seal)
                                                                                                                               Invoice Code: 011001900611
                                                                                                                                      Invoice No.: 89096003
                                                                                                                                   Invoiced Date:04/09/2020
                                                                                                               Verification code: 02422 67835 15650 64384
Purchaser   Name:                 NetQin Infinity (Beijing)                   passcode
                                  Technology Co., Ltd.
            Taxpayer              911101086615514831
            Identification No.:
            Address and Phone     Beijing City, Haidian
                                  District Dongbeiwang Xi
                                  Road No.8 Building,
                                  Building No.4, Floor 3,
                                  Room 317
            Bank Account No.:     China Merchants Bank,
                                  Beijing Chaowaidajie
                                  Branch
The name of the Goods or Taxed    Specification Model         Unit            Number         Price     Total          Tax Rate            Taxes
Labor or Service
Express Delivery                                              Time            1              12.26     12.26          6%                  0.74




                                                                                     Total   13.00
Amount
Seller      Name:                 Beijing Shunfeng Express                    Note
                                  Delivery Co., Ltd
            Taxpayer              91110113762151550Q                                         [SEAL]
            Identification No.:
            Address and Phone
            Bank Account No.:                                                                Issuer:
                                                  Beijing Value Added Tax Electronic General Invoice
                                                                        (seal)

                                                                                                                            Invoice No.: 23674379
                                                                                                                          Invoiced Date:3/15/2020

Purchaser   Name:                 NetQin Infinity (Beijing)                   passcode
                                  Technology Co., Ltd.
            Taxpayer              911101086615514831
            Identification No.:
            Address and Phone     Beijing City, Haidian
                                  District Dongbeiwang Xi
                                  Road No.8 Building,
                                  Building No.4, Floor 3,
                                  Room 317
            Bank Account No.:     China Merchants Bank,
                                  Beijing Chaowaidajie
                                  Branch
The name of the Goods or Taxed    Specification Model         Unit            Number         Price     Total   Tax Rate         Taxes
Labor or Service
Jingdong Mall, alcohol                                                        1              61.06     61.06   13%              7.94
disinfection spray
Jingdong Mall, alcohol                                                        1              61.06     61.06   13%              7.94
disinfection spray




                                                                                     Total
Amount
Seller      Name:                 Beijing Jingdong Shijie                     Note
                                  Information Technology
                                  Co., Ltd
            Taxpayer              91110302562134916R                                         [SEAL]
            Identification No.:
            Address and Phone
            Bank Account No.:                                                                Issuer:
                                                   Jiangsu Value Added Tax Electronic General Invoice
                                                                         (seal)
                                                                                                                                Invoice Code: 032001700511
                                                                                                                                     Invoice No.: 003019605
                                                                                                                                    Invoiced Date: 3/17/2020
                                                                                                                Verification Code: 65788 90310 07615 51134
Purchaser    Name:                 NetQin Infinity (Beijing)                   passcode
                                   Technology Co., Ltd.
             Taxpayer              911101086615514831
             Identification No.:
             Address and Phone
             Bank Account No.:
The name of the Goods or Taxed     Specification Model         Unit            Number         Price     Total           Tax Rate           Taxes
Labor or Service
Development and Technology                                                     1              339.62    339.62          6%                 20.38
service: Technology Support
Fees




                                                                                      Total   360
Amount
Seller       Name:                 Jiangsu Langdong Internet                   Note
                                   Technology Co., Ltd
             Taxpayer              91320594088140947F                                         [SEAL]
             Identification No.:
             Address and Phone
             Bank Account No.:     Bank of China, Suzhou                                      Issuer:
                                           (    ) Reimbursement Form

Company:                4/10/2020
 Summary                                                  Jianfeng Li, Translation Services of documents (Feb) 10405
                                                          Jianfeng Li, Translation Service of documents (March) 29651
 Amount                                                   40056
 Number of Attached Invoice

Reviewer:                      Review   Verified or Checked              Handled by:
Xingye Bank

Transaction No.: 2020041012627834

Transaction Amount: 1853.00

Transaction Amount: 1853.00

Transaction Cost: 0.00

Recipient’s Name: Jianfeng Li

Recipient’s Account: 955880 020015 5831981

Recipient’s Bank: ICBC

Transaction Type: In time transaction between different banks

Payer: Lilin Guo

Payer’s Account: 6229 **** 8318*

Payer’s Bank: Xingye Bank

Note: Payment of labor cost (Jianfneg Li February) fees on behalf
of NetQin Infinity

Transaction Date: 4/10/2020
Xingye Bank                                                     Xingye Bank

Transaction No.: 2020041010651456                               Transaction No.: 2020041010653710

Transaction Amount: 8552.00                                     Transaction Amount: 29651.00

Transaction Amount: 8552.00                                     Transaction Amount: 29651.00

Transaction Cost: 0.00                                          Transaction Cost: 0.00

Recipient’s Name: Jianfeng Li                                   Recipient’s Name: Jianfeng Li

Recipient’s Account: 955880 020015 5831981                      Recipient’s Account: 955880 020015 583198

Recipient’s Bank: ICBC                                          Recipient’s Bank: ICBC

Transaction Type: In time transaction between different banks   Transaction Type: In time transaction between different banks

Payer: Lilin Guo                                                Payer: Lilin Guo

Payer’s Account: 6229 **** 8318*                                Payer’s Account: 6229 **** 8318*

Payer’s Bank: Xingye Bank                                       Payer’s Bank: Xingye Bank

Note: Payment of labor cost fees on behalf of NetQin Infinity   Note: Payment of labor cost Jianfneg Li March on behalf of NetQin
                                                                Infinity
Transaction Date: 4/10/2020
                                                                Transaction Date: 4/10/2020
Xingye Bank

Transaction No.: 2020050625677294

Transaction Amount: 50000.00

Transaction Amount: 50000.00

Transaction Cost: 0.00

Recipient’s Name: Beijing Geping Law Firm

Recipient’s Account: 020020 860920 0009483

Recipient’s Bank: ICBC

Transaction Type: In time transaction between different banks

Payer: Lilin Guo

Payer’s Account: 6229 **** 8318*

Payer’s Bank: Xingye Bank

Note: Payment of Legal Fees on behalf of NetQin Inifinity

Transaction Date: 5/6/2020
Xingye Bank

Transaction No.: 2020050730759917

Transaction Amount: 100000.00

Transaction Amount: 100000.00

Transaction Cost: 0.00

Recipient’s Name: Beijing Junze Law Firm

Recipient’s Account: 910101 552600 00023

Recipient’s Bank: Shanghai Pudong Development Bank

Transaction Type: In time transaction between different banks

Payer: Lilin Guo

Payer’s Account: 6229 **** 8318*

Payer’s Bank: Xingye Bank

Note: Payment of Legal Fees on behalf of NetQin Inifinity

Transaction Date: 5/7/2020
Xingye Bank

Transaction No.: 2020050939993604

Transaction Amount: 150000.00

Transaction Amount: 150000.00

Transaction Cost: 0.00

Recipient’s Name: Beijing Junze Law Firm

Recipient’s Account: 910101 552600 00023

Recipient’s Bank: Shanghai Pudong Development Bank

Transaction Type: In time transaction between different banks

Payer: Lilin Guo

Payer’s Account: 6229 **** 8318*

Payer’s Bank: Xingye Bank

Note: Payment of Legal Fees on behalf of NetQin Inifinity

Transaction Date: 5/9/2020
                                                  Beijing Value Added Tax Electronic General Invoice
                                                                        (seal)
                                                                                                                                Invoice No.: 02837938
                                                                                                                              Invoiced Date: 4/27/2020

Purchaser   Name:                 NetQin Infinity (Beijing)                   passcode
                                  Technology Co., Ltd.
            Taxpayer              911101086615514831
            Identification No.:
            Address and Phone     Beijing City, Haidian
                                  District Dongbeiwang Xi
                                  Road No.8 Building,
                                  Building No.4, Floor 3,
                                  Room 317
            Bank Account No.:     China Merchants Bank,
                                  Beijing Chaowaidajie
                                  Branch
The name of the Goods or Taxed    Specification Model         Unit            Number         Price      Total      Tax Rate          Taxes
Labor or Service
Legal Service: Attorney Fee                                                                  94339.62   94339.62   6%                5660.38




                                                                                     Total   100000
Amount
Seller      Name:                 Beijing Dingye Law Firm                     Note
            Taxpayer              31110000H52630876A                                         [SEAL]
            Identification No.:
            Address and Phone
            Bank Account No.:     CCB Beijing                                                Issuer:
                                                  Beijing Value Added Tax Electronic General Invoice
                                                                        (seal)
                                                                                                                                Invoice No.: 02837939
                                                                                                                              Invoiced Date: 4/27/2020

Purchaser   Name:                 NetQin Infinity (Beijing)                   passcode
                                  Technology Co., Ltd.
            Taxpayer              911101086615514831
            Identification No.:
            Address and Phone     Beijing City, Haidian
                                  District Dongbeiwang Xi
                                  Road No.8 Building,
                                  Building No.4, Floor 3,
                                  Room 317
            Bank Account No.:     China Merchants Bank,
                                  Beijing Chaowaidajie
                                  Branch
The name of the Goods or Taxed    Specification Model         Unit            Number         Price      Total      Tax Rate          Taxes
Labor or Service
Legal Service: Attorney Fee                                                                  94339.62   94339.62   6%                5660.38




                                                                                     Total   100000
Amount
Seller      Name:                 Beijing Dingye Law Firm                     Note
            Taxpayer              31110000H52630876A                                         [SEAL]
            Identification No.:
            Address and Phone
            Bank Account No.:     CCB Beijing                                                Issuer:
                                                  Beijing Value Added Tax Electronic General Invoice
                                                                        (seal)
                                                                                                                                 Invoice No.: 02837940
                                                                                                                               Invoiced Date: 4/27/2020

Purchaser   Name:                 NetQin Infinity (Beijing)                   passcode
                                  Technology Co., Ltd.
            Taxpayer              911101086615514831
            Identification No.:
            Address and Phone     Beijing City, Haidian
                                  District Dongbeiwang Xi
                                  Road No.8 Building,
                                  Building No.4, Floor 3,
                                  Room 317
            Bank Account No.:     China Merchants Bank,
                                  Beijing Chaowaidajie
                                  Branch
The name of the Goods or Taxed    Specification Model         Unit            Number         Price       Total      Tax Rate          Taxes
Labor or Service
Legal Service: Attorney Fee                                                                  28396.23.   28396.23   6%                1703.77




                                                                                     Total   30100.00
Amount
Seller      Name:                 Beijing Dingye Law Firm                     Note
            Taxpayer              31110000H52630876A                                         [SEAL]
            Identification No.:
            Address and Phone
            Bank Account No.:     CCB Beijing                                                Issuer:
                                           (    ) Reimbursement Form

Company:                7/20/2020
 Summary                                                  Payment to Beijing Dingye Law Firm Attorney Fees
 Amount                                                   30100.00
 Number of Attached Invoice

Reviewer:                      Review   Verified or Checked              Handled by:
                                           (    ) Reimbursement Form

Company:                5/20/2020
 Summary                                                  Reimbursement to Bingjie Zhou’s payment for transaction service
 Amount                                                   2200.00
 Number of Attached Invoice

Reviewer:                      Review   Verified or Checked              Handled by:
Xingye Bank

Transaction No.: 2020052090855523

Transaction Amount: 2200.00

Transaction Amount: 2200.00

Transaction Cost: 0.00

Recipient’s Name: Bingjie Zhou

Recipient’s Account: 621483 01551 5736

Recipient’s Bank: China Merchants Bank

Transaction Type: In time transaction between different banks

Payer: Lilin Guo

Payer’s Account: 6229 **** 8318*

Payer’s Bank: Xingye Bank

Note: Payment of translation fees on behalf of NetQin Infinity

Transaction Date: 5/20/2020
                                           (    ) Reimbursement Form

Company:                5/21/2020
 Summary                                                  Receipt of Beijing Geping Law Firm’s Invoice
 Amount                                                   60000.00
 Number of Attached Invoice

Reviewer:                      Review   Verified or Checked              Handled by:
                                                  Beijing Value Added Tax Electronic General Invoice
                                                                        (seal)

                                                                                                                                      Invoice No.: 05844559
                                                                                                                                   Invoiced Date:12/18/2019
                                                                                                               Verification code: 68028 98326 08400 82780
Purchaser   Name:                 NetQin Infinity (Beijing)                   passcode
                                  Technology Co., Ltd.
            Taxpayer              911101086615514831
            Identification No.:
            Address and Phone     Beijing City, Haidian
                                  District Dongbeiwang Xi
                                  Road No.8 Building,
                                  Building No.4, Floor 3,
                                  Room 317
            Bank Account No.:     China Merchants Bank,
                                  Beijing Chaowaidajie
                                  Branch
The name of the Goods or Taxed    Specification Model         Unit            Number         Price     Total          Tax Rate            Taxes
Labor or Service
Legal Consulting Fees                                                                                  56603.77       6%                  3396




                                                                                     Total   60000
Amount
Seller      Name:                 Beijing Geping Law Firm                     Note
            Taxpayer              31110000789956834J                                         [SEAL]
            Identification No.:
            Address and Phone
            Bank Account No.:     ICBC                                                       Issuer:
                                           (    ) Reimbursement Form

Company:                5/22/2020
 Summary                                                  Payment to Jianfeng Li re: translation service
 Amount                                                   80003.48
 Number of Attached Invoice

Reviewer:                      Review   Verified or Checked               Handled by:
                                                     Beijing Value Added Tax Electronic General Invoice
                                                                           (seal)

                                                                                                                                          Invoice No.: 26027422
                                                                                                                                        Invoiced Date:4/23/2020
                                                                                                                   Verification code: 68028 98326 08400 82780
Purchaser    Name:                  NetQin Infinity (Beijing)                    passcode
                                    Technology Co., Ltd.
              Taxpayer              911101086615514831
              Identification No.:
              Address and Phone
              Bank Account No.:
The name of the Goods or Taxed      Specification Model          Unit            Number         Price      Total          Tax Rate            Taxes
Labor or Service
Translation and conlsuting Fees                                                                 77673.28   77673.28       3%                  2330.20




                                                                                        Total   80003.48
Amount
Seller       Name:                  Beijing Chaoyang                             Note
                                    District, Taxing Authority
                                    No.4 Sub Taxing
                                    Department
             Taxpayer               11010500DK08012                                             [SEAL]
             Identification No.:
             Address and Phone
             Bank Account No.:      ICBC                                                        Issuer:
Xingye Bank

Transaction No.: 2020112681783191

Transaction Amount: 21657.00

Transaction Amount: 21657.00

Transaction Cost: 0.00

Recipient’s Name: Beijing Dingye Law Firm

Recipient’s Account: 622588 013468 0827

Recipient’s Bank: China Merchants Bank

Transaction Type: In time transaction between different banks

Payer: Lilin Guo

Payer’s Account: 6229 **** 8318*

Payer’s Bank: Xingye Bank

Note: Payment of Court filing fees on behalf of NetQin Infinity
(2020) Jing 0108 Min Chu No. 329.

Transaction Date: 11/26/2020
                                              Reimbursement Form

Company:                6/10/2020
 Summary                                                  Payment to Jianfeng Li re: laobor service
 Amount                                                   33792.00
 Number of Attached Invoice

Reviewer:                      Review   Verified or Checked               Handled by:
Xingye Bank

Transaction No.: 2020061085584365

Transaction Amount: 33792.00

Transaction Amount: 33792.00

Transaction Cost: 0.00

Recipient’s Name: Jianfeng Li

Recipient’s Account: 955880 020015 583198

Recipient’s Bank: ICBC

Transaction Type: In time transaction between different banks

Payer: Lilin Guo

Payer’s Account: 6229 **** 8318*

Payer’s Bank: Xingye Bank

Note: Payment of labor fees behalf of NetQin Infinity

Transaction Date: 6/10/2020
                                              Reimbursement Form

Company:                6/10/2020
 Summary                                                  Payment to Kobre & Kim Attorney fees
 Amount                                                   378386.43
 Number of Attached Invoice

Reviewer:                      Review   Verified or Checked              Handled by:
                                                 Shanghai Value Added Tax Electronic General Invoice
                                                                       (seal)

                                                                                                                              Invoice No.: 23587384
                                                                                                                             Invoiced Date:6/4/2020

Purchaser   Name:                 NetQin Infinity (Beijing)                   passcode
                                  Technology Co., Ltd.
            Taxpayer              911101086615514831
            Identification No.:
            Address and Phone     Beijing City, Haidian
                                  District Dongbeiwang Xi
                                  Road No.8 Building,
                                  Building No.4, Floor 3,
                                  Room 317
            Bank Account No.:     China Merchants Bank,
                                  Beijing Chaowaidajie
                                  Branch
The name of the Goods or Taxed    Specification Model         Unit            Number         Price     Total      Tax Rate        Taxes
Labor or Service
Legal Consulting Fees                                                                                  94339.62   6%              5660.3




                                                                                     Total   100000
Amount
Seller      Name:                 United States Kobre &                       Note
                                  Kim Law Firm Shanghai
                                  Office
            Taxpayer              31100000MD832201XU                                         [SEAL]
            Identification No.:
            Address and Phone
            Bank Account No.:     HSBC (Shanghai)                                            Issuer:
                                                 Shanghai Value Added Tax Electronic General Invoice
                                                                       (seal)

                                                                                                                              Invoice No.: 23587386
                                                                                                                             Invoiced Date:6/4/2020

Purchaser   Name:                 NetQin Infinity (Beijing)                   passcode
                                  Technology Co., Ltd.
            Taxpayer              911101086615514831
            Identification No.:
            Address and Phone     Beijing City, Haidian
                                  District Dongbeiwang Xi
                                  Road No.8 Building,
                                  Building No.4, Floor 3,
                                  Room 317
            Bank Account No.:     China Merchants Bank,
                                  Beijing Chaowaidajie
                                  Branch
The name of the Goods or Taxed    Specification Model         Unit            Number         Price     Total      Tax Rate        Taxes
Labor or Service
Legal Consulting Fees                                                                                  94339.62   6%              5660.3




                                                                                     Total   100000
Amount
Seller      Name:                 United States Kobre &                       Note
                                  Kim Law Firm Shanghai
                                  Office
            Taxpayer              31100000MD832201XU                                         [SEAL]
            Identification No.:
            Address and Phone
            Bank Account No.:     HSBC (Shanghai)                                            Issuer:
                                                 Shanghai Value Added Tax Electronic General Invoice
                                                                       (seal)

                                                                                                                               Invoice No.: 23587387
                                                                                                                              Invoiced Date:6/4/2020

Purchaser   Name:                 NetQin Infinity (Beijing)                   passcode
                                  Technology Co., Ltd.
            Taxpayer              911101086615514831
            Identification No.:
            Address and Phone     Beijing City, Haidian
                                  District Dongbeiwang Xi
                                  Road No.8 Building,
                                  Building No.4, Floor 3,
                                  Room 317
            Bank Account No.:     China Merchants Bank,
                                  Beijing Chaowaidajie
                                  Branch
The name of the Goods or Taxed    Specification Model         Unit            Number         Price      Total      Tax Rate        Taxes
Labor or Service
Legal Consulting Fees                                                                                   73949.46   6%              73949.46




                                                                                     Total   78386.43
Amount
Seller      Name:                 United States Kobre &                       Note
                                  Kim Law Firm Shanghai
                                  Office
            Taxpayer              31100000MD832201XU                                         [SEAL]
            Identification No.:
            Address and Phone
            Bank Account No.:     HSBC (Shanghai)                                            Issuer:
                                                 Shanghai Value Added Tax Electronic General Invoice
                                                                       (seal)

                                                                                                                              Invoice No.: 23587385
                                                                                                                             Invoiced Date:6/4/2020

Purchaser   Name:                 NetQin Infinity (Beijing)                   passcode
                                  Technology Co., Ltd.
            Taxpayer              911101086615514831
            Identification No.:
            Address and Phone     Beijing City, Haidian
                                  District Dongbeiwang Xi
                                  Road No.8 Building,
                                  Building No.4, Floor 3,
                                  Room 317
            Bank Account No.:     China Merchants Bank,
                                  Beijing Chaowaidajie
                                  Branch
The name of the Goods or Taxed    Specification Model         Unit            Number         Price     Total      Tax Rate        Taxes
Labor or Service
Legal Consulting Fees                                                                                  94339.62   6%              5660.3




                                                                                     Total   100000
Amount
Seller      Name:                 United States Kobre &                       Note
                                  Kim Law Firm Shanghai
                                  Office
            Taxpayer              31100000MD832201XU                                         [SEAL]
            Identification No.:
            Address and Phone
            Bank Account No.:     HSBC (Shanghai)                                            Issuer:
Xingye Bank

Transaction No.: 22020031082032799

Transaction Amount: 378386.43

Transaction Amount: 378386.43

Transaction Cost: 0.00

Recipient’s Name: United States Kobre & Kim Law Firm
Shanghai Office

Recipient’s Account: 715035 853001

Recipient’s Bank: HSBC (Shanghai)

Transaction Type: In time transaction between different banks

Payer: Lilin Guo

Payer’s Account: 6229 **** 8318*

Payer’s Bank: Xingye Bank

Note: Payment of attorney fees on behalf of NetQin Infinity

Transaction Date: 06/10/2020
                                              Reimbursement Form

Company:                6/242020
 Summary                                                  Reimbursement to Bingjie Zhou for the court filing fees
 Amount                                                   1150.00
 Number of Attached Invoice

Reviewer:                      Review   Verified or Checked               Handled by:
Xingye Bank

Transaction No.: 2020062449802368

Transaction Amount: 1150.00

Transaction Amount: 1150.00

Transaction Cost: 0.00

Recipient’s Name: Bingjie Zhou

Recipient’s Account: 621483 015551 5736

Recipient’s Bank: China Merchants Bank

Transaction Type: In time transaction between different banks

Payer: Lilin Guo

Payer’s Account: 6229 **** 8318*

Payer’s Bank: Xingye Bank

Note: Payment of court filing fees on behalf of NetQin Infinity

Transaction Date: 06/24/2020
                                              Reimbursement Form

Company:                7/19/2020
 Summary                                                  Express delivery fees 151.86, office fees 1643.24, and translation cost 383.50
 Amount                                                   2178.60
 Number of Attached Invoice

Reviewer:                      Review   Verified or Checked               Handled by:
Xingye Bank

Transaction No.: 2020071133733199

Transaction Amount: 54800.00

Transaction Amount: 54800.00

Transaction Cost: 0.00

Recipient’s Name: Beijing Dingye Law Firm

Recipient’s Account: 110010 853000 56030423

Recipient’s Bank: CCB

Transaction Type: In time transaction between different banks

Payer: Lilin Guo

Payer’s Account: 6229 **** 8318*

Payer’s Bank: Xingye Bank

Note: Payment of attorney fees on behalf of NetQin Infinity

Transaction Date: 07/11/2020
                                               Reimbursement Form

Company:                7/11/2020
 Summary                                                   Payment to Dingye Law Firm attorney fees
 Amount                                                    2178.60
 Number of Attached Invoice

Reviewer:                       Review   Verified or Checked              Handled by:
                                               Reimbursement Form

Company:                7/11/2020
 Summary                                                   Payment to Jianfeng Li re translation service fees
 Amount                                                    2178.60
 Number of Attached Invoice

Reviewer:                       Review   Verified or Checked               Handled by:
Xingye Bank

Transaction No.: 2020071133699660

Transaction Amount: 49932.00

Transaction Amount: 49932.00

Transaction Cost: 0.00

Recipient’s Name: Jianfeng Li

Recipient’s Account: 955880 020015 583198

Recipient’s Bank: ICBC

Transaction Type: In time transaction between different banks

Payer: Lilin Guo

Payer’s Account: 6229 **** 8318*

Payer’s Bank: Xingye Bank

Note: Payment of labor fees behalf of NetQin Infinity

Transaction Date: 7/11/2020
Xingye Bank

Transaction No.: 2020080132684501

Transaction Amount: 3166.00

Transaction Amount: 3166.00

Transaction Cost: 0.00

Recipient’s Name: Bingjie Zhou

Recipient’s Account: 621483 01551 5736

Recipient’s Bank: China Merchants Bank

Transaction Type: In time transaction between different banks

Payer: Lilin Guo

Payer’s Account: 6229 **** 8318*

Payer’s Bank: Xingye Bank

Note: Payment of notary fees on behalf of NetQin Infinity

Transaction Date: 08/01/2020
                                                  Beijing Value Added Tax Electronic General Invoice
                                                                        (seal)

                                                                                                                               Invoice No.: 03693423
                                                                                                                            Invoiced Date:07/24/2020

Purchaser   Name:                 NetQin Infinity (Beijing)                   passcode
                                  Technology Co., Ltd.
            Taxpayer              911101086615514831
            Identification No.:
            Address and Phone     Beijing City, Haidian
                                  District Dongbeiwang Xi
                                  Road No.8 Building,
                                  Building No.4, Floor 3,
                                  Room 317
            Bank Account No.:     China Merchants Bank,
                                  Beijing Chaowaidajie
                                  Branch
The name of the Goods or Taxed    Specification Model         Unit            Number         Price     Total     Tax Rate           Taxes
Labor or Service
Notary Fee (domestic civil)                                                                            2996.79   9%                 179.21




                                                                                     Total   3166.00
Amount
Seller      Name:                 Beijing City Haicheng                       Note
                                  Notary Center
            Taxpayer              121101084008818390                                         [SEAL]
            Identification No.:
            Address and Phone
            Bank Account No.:     ICBC                                                       Issuer:
                                                  Reimbursement Form

Company:                8/1/2020
 Summary                                                      Reimbursement to Bingjie Zhou for notary fees
 Amount                                                       3166
 Number of Attached Invoice

Reviewer:                          Review   Verified or Checked              Handled by:
                                                  Reimbursement Form

Company:                8/1/2020
 Summary                                                      Office equipment 167.60, translation service 2912.50, express delivery 50.00
 Amount                                                       3130.10
 Number of Attached Invoice

Reviewer:                          Review   Verified or Checked               Handled by:
                                                   Beijing Value Added Tax Electronic General Invoice
                                                                         (seal)

                                                                                                                                Invoice No.: 13972178
                                                                                                                             Invoiced Date:08/05/2020

Purchaser   Name:                 NetQin Infinity (Beijing)                    passcode
                                  Technology Co., Ltd.
            Taxpayer              911101086615514831
            Identification No.:
            Address and Phone     Beijing City, Haidian
                                  District Dongbeiwang Xi
                                  Road No.8 Building,
                                  Building No.4, Floor 3,
                                  Room 317
            Bank Account No.:     China Merchants Bank,
                                  Beijing Chaowaidajie
                                  Branch
The name of the Goods or Taxed    Specification Model          Unit            Number         Price     Total     Tax Rate           Taxes
Labor or Service
Translation Service                                                                                     2883.66   1%                 28.83




                                                                                      Total   2912.50
Amount
Seller      Name:                 Beijing Baijia Translation                   Note
                                  Service Co., Ltd
            Taxpayer              911101017235862525                                          [SEAL]
            Identification No.:
            Address and Phone
            Bank Account No.:     CCB                                                         Issuer:
                       Payment Form

Company:   8/13/2020
 Pay to                       Beijing Dingye Law Firm
 Amount                       50000
 For                          Legal Service
Transaction Details

Amount: 155700.00

Transaction Method: Mobile Bank

The Recipient’s Account: CCB Main Bank (not in charge of
individual banking service)

Summary of transaction: money wire out

Transaction date:: 8/13/2020

Wire date: 8/13/2020
                                                  Beijing Value Added Tax Electronic General Invoice
                                                                        (seal)
                                                                                                                                 Invoice No.: 36149391
                                                                                                                              Invoiced Date: 08/13/2020

Purchaser   Name:                 NetQin Infinity (Beijing)                   passcode
                                  Technology Co., Ltd.
            Taxpayer              911101086615514831
            Identification No.:
            Address and Phone     Beijing City, Haidian
                                  District Dongbeiwang Xi
                                  Road No.8 Building,
                                  Building No.4, Floor 3,
                                  Room 317
            Bank Account No.:     China Merchants Bank,
                                  Beijing Chaowaidajie
                                  Branch
The name of the Goods or Taxed    Specification Model         Unit            Number         Price      Total      Tax Rate           Taxes
Labor or Service
Legal Service: Attorney Fee                                                                  94339.62   94339.62   6%                 5660.38




                                                                                     Total   100000
Amount
Seller      Name:                 Beijing Dingye Law Firm                     Note
            Taxpayer              31110000H52630876A                                         [SEAL]
            Identification No.:
            Address and Phone
            Bank Account No.:     CCB Beijing                                                Issuer:
                                                  Beijing Value Added Tax Electronic General Invoice
                                                                        (seal)
                                                                                                                                 Invoice No.: 36149392
                                                                                                                              Invoiced Date: 08/13/2020

Purchaser   Name:                 NetQin Infinity (Beijing)                   passcode
                                  Technology Co., Ltd.
            Taxpayer              911101086615514831
            Identification No.:
            Address and Phone     Beijing City, Haidian
                                  District Dongbeiwang Xi
                                  Road No.8 Building,
                                  Building No.4, Floor 3,
                                  Room 317
            Bank Account No.:     China Merchants Bank,
                                  Beijing Chaowaidajie
                                  Branch
The name of the Goods or Taxed    Specification Model         Unit            Number         Price      Total      Tax Rate           Taxes
Labor or Service
Legal Service: Attorney Fee                                                                  52547.17   52547.17   6%                 3152.83




                                                                                     Total   55700.00
Amount
Seller      Name:                 Beijing Dingye Law Firm                     Note
            Taxpayer              31110000H52630876A                                         [SEAL]
            Identification No.:
            Address and Phone
            Bank Account No.:     CCB Beijing                                                Issuer:
                       Payment Form

Company:   8/13/2020
 Pay to                       Beijing Dingye Law Firm
 Amount                       15570
 For                          Legal Service
Transaction Details

Amount: 155700.00

Transaction Method: Mobile Bank

Recipient’s Information: Beijing Gebing Law Firm 020020860
9200009483

The Recipient’s Account: ICBC Main Bank transaction center

Summary of transaction: money wire out

Transaction date:: 8/13/2020

Wire date: 8/13/2020
Payment Form

Company:       8/17/2020
 Pay to                    Jianfeng Li
 Amount                    41517
 For                       Labor fees
Xingye Bank

Transaction No.: 2020081708466789

Transaction Amount: 41517.00

Transaction Amount: 41517.00

Transaction Cost: 0.00

Recipient’s Name: Jianfeng Li

Recipient’s Account: 955880 020015 5831981

Recipient’s Bank: ICBC

Transaction Type: In time transaction between different banks

Payer: Lilin Guo

Payer’s Account: 6229 **** 8318*

Payer’s Bank: Xingye Bank

Note: Payment of labor cost on behalf of NetQin Infinity

Transaction Date: 4/10/2020
Payment Form

Company:       8/20/2020
 Pay to                    Beijing Geping Law Firm
 Amount                    295358
 For                       Legal Service Fees
                                                  Beijing Value Added Tax Electronic General Invoice
                                                                        (seal)
                                                                                                                                 Invoice No.: 36149395
                                                                                                                              Invoiced Date: 08/27/2020

Purchaser   Name:                 NetQin Infinity (Beijing)                   passcode
                                  Technology Co., Ltd.
            Taxpayer              911101086615514831
            Identification No.:
            Address and Phone     Beijing City, Haidian
                                  District Dongbeiwang Xi
                                  Road No.8 Building,
                                  Building No.4, Floor 3,
                                  Room 317
            Bank Account No.:     China Merchants Bank,
                                  Beijing Chaowaidajie
                                  Branch
The name of the Goods or Taxed    Specification Model         Unit            Number         Price      Total      Tax Rate           Taxes
Labor or Service
Legal Service: Attorney Fee                                                                  89960.37   89960.37   6%                 5397.62




                                                                                     Total   95350.00
Amount
Seller      Name:                 Beijing Dingye Law Firm                     Note
            Taxpayer              31110000H52630876A                                         [SEAL]
            Identification No.:
            Address and Phone
            Bank Account No.:     CCB Beijing                                                Issuer:
                                                  Beijing Value Added Tax Electronic General Invoice
                                                                        (seal)
                                                                                                                                  Invoice No.: 36149394
                                                                                                                               Invoiced Date: 08/27/2020

Purchaser   Name:                 NetQin Infinity (Beijing)                   passcode
                                  Technology Co., Ltd.
            Taxpayer              911101086615514831
            Identification No.:
            Address and Phone     Beijing City, Haidian
                                  District Dongbeiwang Xi
                                  Road No.8 Building,
                                  Building No.4, Floor 3,
                                  Room 317
            Bank Account No.:     China Merchants Bank,
                                  Beijing Chaowaidajie
                                  Branch
The name of the Goods or Taxed    Specification Model         Unit            Number         Price       Total      Tax Rate           Taxes
Labor or Service
Legal Service: Attorney Fee                                                                  94339.62    94339.62   6%                 5660.38




                                                                                     Total   100000.00
Amount
Seller      Name:                 Beijing Dingye Law Firm                     Note
            Taxpayer              31110000H52630876A                                         [SEAL]
            Identification No.:
            Address and Phone
            Bank Account No.:     CCB Beijing                                                Issuer:
                                                  Beijing Value Added Tax Electronic General Invoice
                                                                        (seal)
                                                                                                                                  Invoice No.: 36149393
                                                                                                                               Invoiced Date: 08/27/2020

Purchaser   Name:                 NetQin Infinity (Beijing)                   passcode
                                  Technology Co., Ltd.
            Taxpayer              911101086615514831
            Identification No.:
            Address and Phone     Beijing City, Haidian
                                  District Dongbeiwang Xi
                                  Road No.8 Building,
                                  Building No.4, Floor 3,
                                  Room 317
            Bank Account No.:     China Merchants Bank,
                                  Beijing Chaowaidajie
                                  Branch
The name of the Goods or Taxed    Specification Model         Unit            Number         Price       Total      Tax Rate           Taxes
Labor or Service
Legal Service: Attorney Fee                                                                  94339.62    94339.62   6%                 5660.38




                                                                                     Total   100000.00
Amount
Seller      Name:                 Beijing Dingye Law Firm                     Note
            Taxpayer              31110000H52630876A                                         [SEAL]
            Identification No.:
            Address and Phone
            Bank Account No.:     CCB Beijing                                                Issuer:
Xingye Bank

Transaction No.: 2020082021927332

Transaction Amount: 295358.00

Transaction Amount: 295358.00

Transaction Cost: 0.00

Recipient’s Name: Beijing Dingye Law Firm

Recipient’s Account: 622588 013468 0827

Recipient’s Bank: China Merchants Bank

Transaction Type: In time transaction between different banks

Payer: Lilin Guo

Payer’s Account: 6229 **** 8318*

Payer’s Bank: Xingye Bank

Note: Payment of Court filing fees on behalf of NetQin Infinity
(2020) Jing 0108 Min Chu No. 329.

Transaction Date: 8/20/2020
                       Payment Form

Company:   8/21/2020
 Pay to                       United States Kobre & Kim Law Firm Shanghai Office
 For                          Legal Service
 Amount                       370332
                                                 Shanghai Value Added Tax Electronic General Invoice
                                                                       (seal)

                                                                                                                               Invoice No.: 23687393
                                                                                                                             Invoiced Date:8/24/2020

Purchaser   Name:                 NetQin Infinity (Beijing)                   passcode
                                  Technology Co., Ltd.
            Taxpayer              911101086615514831
            Identification No.:
            Address and Phone     Beijing City, Haidian
                                  District Dongbeiwang Xi
                                  Road No.8 Building,
                                  Building No.4, Floor 3,
                                  Room 317
            Bank Account No.:     China Merchants Bank,
                                  Beijing Chaowaidajie
                                  Branch
The name of the Goods or Taxed    Specification Model         Unit            Number         Price     Total      Tax Rate         Taxes
Labor or Service
Legal Consulting Fees                                                                                  94339.62   6%               5660.3




                                                                                     Total   100000
Amount
Seller      Name:                 United States Kobre &                       Note
                                  Kim Law Firm Shanghai
                                  Office
            Taxpayer              31100000MD832201XU                                         [SEAL]
            Identification No.:
            Address and Phone
            Bank Account No.:     HSBC (Shanghai)                                            Issuer:
                                                 Shanghai Value Added Tax Electronic General Invoice
                                                                       (seal)

                                                                                                                               Invoice No.: 23687395
                                                                                                                             Invoiced Date:8/24/2020

Purchaser   Name:                 NetQin Infinity (Beijing)                   passcode
                                  Technology Co., Ltd.
            Taxpayer              911101086615514831
            Identification No.:
            Address and Phone     Beijing City, Haidian
                                  District Dongbeiwang Xi
                                  Road No.8 Building,
                                  Building No.4, Floor 3,
                                  Room 317
            Bank Account No.:     China Merchants Bank,
                                  Beijing Chaowaidajie
                                  Branch
The name of the Goods or Taxed    Specification Model         Unit            Number         Price     Total      Tax Rate         Taxes
Labor or Service
Legal Consulting Fees                                                                                  94339.62   6%               5660.3




                                                                                     Total   100000
Amount
Seller      Name:                 United States Kobre &                       Note
                                  Kim Law Firm Shanghai
                                  Office
            Taxpayer              31100000MD832201XU                                         [SEAL]
            Identification No.:
            Address and Phone
            Bank Account No.:     HSBC (Shanghai)                                            Issuer:
                                                 Shanghai Value Added Tax Electronic General Invoice
                                                                       (seal)

                                                                                                                                Invoice No.: 23687396
                                                                                                                              Invoiced Date:8/24/2020

Purchaser   Name:                 NetQin Infinity (Beijing)                   passcode
                                  Technology Co., Ltd.
            Taxpayer              911101086615514831
            Identification No.:
            Address and Phone     Beijing City, Haidian
                                  District Dongbeiwang Xi
                                  Road No.8 Building,
                                  Building No.4, Floor 3,
                                  Room 317
            Bank Account No.:     China Merchants Bank,
                                  Beijing Chaowaidajie
                                  Branch
The name of the Goods or Taxed    Specification Model         Unit            Number         Price      Total      Tax Rate         Taxes
Labor or Service
Legal Consulting Fees                                                                                   66350.94   6%               3981.06




                                                                                     Total   56350.94
Amount
Seller      Name:                 United States Kobre &                       Note
                                  Kim Law Firm Shanghai
                                  Office
            Taxpayer              31100000MD832201XU                                         [SEAL]
            Identification No.:
            Address and Phone
            Bank Account No.:     HSBC (Shanghai)                                            Issuer:
Xingye Bank

Transaction No.: 2020082127016734

Transaction Amount: 370332.00

Transaction Amount: 370332.00

Transaction Cost: 0.00

Recipient’s Name: United States Kobre & Kim Law Firm
Shanghai Office

Recipient’s Account: 715035 853001

Recipient’s Bank: HSBC (Shanghai)

Transaction Type: In time transaction between different banks

Payer: Lilin Guo

Payer’s Account: 6229 **** 8318*

Payer’s Bank: Xingye Bank

Note: Payment of attorney fees on behalf of NetQin Infinity

Transaction Date: 8/21/2020
                                                 Shanghai Value Added Tax Electronic General Invoice
                                                                       (seal)

                                                                                                                               Invoice No.: 23687394
                                                                                                                             Invoiced Date:8/24/2020

Purchaser   Name:                 NetQin Infinity (Beijing)                   passcode
                                  Technology Co., Ltd.
            Taxpayer              911101086615514831
            Identification No.:
            Address and Phone     Beijing City, Haidian
                                  District Dongbeiwang Xi
                                  Road No.8 Building,
                                  Building No.4, Floor 3,
                                  Room 317
            Bank Account No.:     China Merchants Bank,
                                  Beijing Chaowaidajie
                                  Branch
The name of the Goods or Taxed    Specification Model         Unit            Number         Price     Total      Tax Rate         Taxes
Labor or Service
Legal Consulting Fees                                                                                  94339.62   6%               5660.3




                                                                                     Total   100000
Amount
Seller      Name:                 United States Kobre &                       Note
                                  Kim Law Firm Shanghai
                                  Office
            Taxpayer              31100000MD832201XU                                         [SEAL]
            Identification No.:
            Address and Phone
            Bank Account No.:     HSBC (Shanghai)                                            Issuer:
Payment Form

Company:       9/11/2020
 Pay to                    Hainan Xiangrui Law Firm
 Amount                    100000
 For                       Attorney Fees
                                                  Hainan Value Added Tax Electronic General Invoice
                                                                       (seal)

                                                                                                                       Invoice No.: 0112240[covered]
                                                                                                                              Invoiced Date:9/9/2020

Purchaser   Name:                 NetQin Infinity (Beijing)                   passcode
                                  Technology Co., Ltd.
            Taxpayer              911101086615514831
            Identification No.:
            Address and Phone     Beijing City, Haidian
                                  District Dongbeiwang Xi
                                  Road No.8 Building,
                                  Building No.4, Floor 3,
                                  Room 317
            Bank Account No.:     China Merchants Bank,
                                  Beijing Chaowaidajie
                                  Branch
The name of the Goods or Taxed    Specification Model         Unit            Number         Price     Total      Tax Rate         Taxes
Labor or Service
Legal Consulting Fees                                                                                  94339.62   6%               5660.3




                                                                                     Total   100000
Amount
Seller      Name:                 Hainan Xiangrui Law                         Note
                                  Firm
            Taxpayer              314600007987028792                                         [SEAL]
            Identification No.:
            Address and Phone
            Bank Account No.:     ICBC Sanya                                                 Issuer:
Xingye Bank

Transaction No.: 202009115771880

Transaction Amount: 100000.00

Transaction Amount: 100000.00

Transaction Cost: 0.00

Recipient’s Name: Hainan Xiangrui Law Firm

Recipient’s Account: 220102 900920 0028860

Recipient’s Bank: ICBC

Transaction Type: In time transaction between different banks

Payer: Lilin Guo

Payer’s Account: 6229 **** 8318*

Payer’s Bank: Xingye Bank

Note: Payment of attorney fees on behalf of NetQin Infinity

Transaction Date: 9/11/2020
Payment Form

Company:       10/29/2020
 Pay to                     Epiq Hong Kong Limited
 Amount                     51269.67
 For                        Arbitration Fees
Hong Kong U.S. dollar account wire transfer is successful. One Card (6212998606425946) wire to (Recipient Epiq Hong Kong Limited, Account: 499183796201,
Bank: The Hong Kong And Shanghai Banking Corporation Ltd., amount 7622.61 U.S. Dollar, transaction cost 7 U.S. Dollar).
Payment Form

Company:       10/29/2020
 Pay to                     KSG Attorneys Ltd
 Amount                     33630
 For                        Attorney Fees
Hong Kong U.S. dollar account wire transfer is successful. One Card (6212998606425946) wire to (Recipient KSG Attorneys Ltd, Account: 8401645760038, Bank:
Butterfield Bank (Cayman) Limited., amount 5000.00 U.S. Dollar, transaction cost 20 U.S. Dollar).
Payment Form

Company:       11/4/2020
 Pay to                    Hong Kong International Arbitration Centre
 Amount                    104763.7
 For                       Arbitration Fees
Hong Kong U.S. dollar account wire transfer is successful. One Card (6212998606425946) wire to (Recipient Greenberg Trauig, Account: 3200175071, Bank: Citi
Bank NA., amount 50000.00 U.S. Dollar, transaction cost 20 U.S. Dollar).
People’s Court’s Filing Fee Unique Receipt (Close of Frist Trial)

                                                                    No. 02225500



Payer:   NetQin Infinity (Beijing) Technology Co., Ltd

Cause of Action: Damage of the company’s interests dispute



    1.   Case filing fee: 21657.00
    2.   Other:



Total:   21657.00
Beijing City Haidian District People’s Court Filing Fee Payment Notice

Case No.: (2020) Jing 0108 Min Chu No. 329                   No. 062020112610059003

Now having: NetQin Infinity (Beijing) Technology Co., Ltd    Paid (First) trial filing fees

Amount: 21657.00

Cause of action: Damage of the company’s interests dispute

Due date for payment of filing fee: 12/03/2020
                                           (    ) Reimbursement Form

Company:                11/26/2020
 Summary                                                  Reimbursement of Hao Kun’s payment for court filing fees
 Amount                                                   21657.00
 Number of Attached Invoice

Reviewer:                      Review   Verified or Checked              Handled by:
Payment Form

Company:       12/10/2020
 Pay to                     KSG Attorneys Ltd
 Amount                     91236.29
 For                        Attorney Fees
Hong Kong U.S. dollar account wire transfer is successful. One Card (6212998606425946) wire to (Recipient KSG Attorneys Ltd, Account: 8401645760038,
Bank: Butterfield Bank (Cayman) Limited., amount 13934.31 U.S. Dollar, transaction cost 20 U.S. Dollar).
                                           (    ) Reimbursement Form

Company:                3/10/2020
 Summary                                                  Utilities 9.16.19-13.31-19
 Amount                                                   1494.19
 Number of Attached Invoice                               3

Reviewer:                      Review   Verified or Checked               Handled by:
                                                  Beijing Value Added Tax Electronic General Invoice
                                                                        (seal)
                                                                                                                              Invoice No.: 01274527
                                                                                                                            Invoiced Date:3/10/2020

Purchaser   Name:                 NetQin Infinity (Beijing)                   passcode
                                  Technology Co., Ltd.
            Taxpayer              911101086615514831
            Identification No.:
            Address and Phone     Beijing City, Haidian
                                  District Dongbeiwang Xi
                                  Road No.8 Building,
                                  Building No.4, Floor 3,
                                  Room 317
            Bank Account No.:     China Merchants Bank,
                                  Beijing Chaowaidajie
                                  Branch
The name of the Goods or Taxed    Specification Model         Unit            Number         Price     Total     Tax Rate         Taxes
Labor or Service
Electricity fees                                                                                       1183.07   13%              153.90




                                                                                     Total   1336.87
Amount
Seller      Name:                 Beijing Zhongguancun                        Note
                                  Hongjia Property
                                  Management Co., Ltd
            Taxpayer              91110108769918611R                                         [SEAL]
            Identification No.:
            Address and Phone
            Bank Account No.:     Beijing Bank                                               Issuer:
Invoice Due Notice

NetQin Infinity (Beijing) Technology Co., Ltd.

According to the lease agreement entered by the parties, you company shall pay the following expenses:
Location: Room 301

Electricity Fees:

[part of form omitted]

1336.89

Water Fees

[part of form omitted]

157.32

[part of notice omitted]
                                                  Beijing Value Added Tax Electronic General Invoice
                                                                        (seal)
                                                                                                                            Invoice No.: 93099543
                                                                                                                          Invoiced Date:3/10/2020

Purchaser   Name:                 NetQin Infinity (Beijing)                   passcode
                                  Technology Co., Ltd.
            Taxpayer              911101086615514831
            Identification No.:
            Address and Phone     Beijing City, Haidian
                                  District Dongbeiwang Xi
                                  Road No.8 Building,
                                  Building No.4, Floor 3,
                                  Room 317
            Bank Account No.:     China Merchants Bank,
                                  Beijing Chaowaidajie
                                  Branch
The name of the Goods or Taxed    Specification Model         Unit            Number         Price     Total   Tax Rate         Taxes
Labor or Service
Payment of Water fee through                                                                           82.80   6%               4.97
agent




                                                                                     Total   87.77
Amount
Seller      Name:                 Beijing Zhongguancun                        Note
                                  Hongjia Property
                                  Management Co., Ltd
            Taxpayer              91110108769918611R                                         [SEAL]
            Identification No.:
            Address and Phone
            Bank Account No.:     Beijing Bank                                               Issuer:
                                                  Beijing Value Added Tax Electronic General Invoice
                                                                        (seal)
                                                                                                                            Invoice No.: 01274528
                                                                                                                          Invoiced Date:3/10/2020

Purchaser   Name:                 NetQin Infinity (Beijing)                   passcode
                                  Technology Co., Ltd.
            Taxpayer              911101086615514831
            Identification No.:
            Address and Phone     Beijing City, Haidian
                                  District Dongbeiwang Xi
                                  Road No.8 Building,
                                  Building No.4, Floor 3,
                                  Room 317
            Bank Account No.:     China Merchants Bank,
                                  Beijing Chaowaidajie
                                  Branch
The name of the Goods or Taxed    Specification Model         Unit            Number         Price     Total   Tax Rate         Taxes
Labor or Service
Hot water                                                                                              67.52   6%               2.03




                                                                                     Total   69.55
Amount
Seller      Name:                 Beijing Zhongguancun                        Note
                                  Hongjia Property
                                  Management Co., Ltd
            Taxpayer              91110108769918611R                                         [SEAL]
            Identification No.:
            Address and Phone
            Bank Account No.:     Beijing Bank                                               Issuer:
                                           (    ) Reimbursement Form

Company:                4/16/2020
 Summary                                                  3.2020-6.2020 Rent
 Amount                                                   116989.84
 Number of Attached Invoice

Reviewer:                      Review   Verified or Checked              Handled by:
Xingye Bank

Transaction No.: 2020041639487304

Transaction Amount: 116989.84

Transaction Amount: 116989.84

Transaction Cost: 0.00

Recipient’s Name: Beijing Cloud Valley Technology Development
Co., Ltd.

Recipient’s Account: 321130 100100 249577

Recipient’s Bank: CCB

Transaction Type: In time transaction between different banks

Payer: Lilin Guo

Payer’s Account: 6229 **** 8318*

Payer’s Bank: Xingye Bank

Note: Payment of rent on behalf of NetQin Infinity

Transaction Date: 4/16/2020
                                                  Beijing Value Added Tax Electronic General Invoice
                                                                        (seal)
                                                                                                                                        No. 25256251
                                                                                                                              Invoiced Date: 4/17/2020
Purchaser   Name:                 NetQin Infinity (Beijing)                   passcode
                                  Technology Co., Ltd.
            Taxpayer              911101086615514831
            Identification No.:
            Address and Phone     Beijing City, Haidian
                                  District North Sanhuan
                                  West Road No.31
                                  Building 23, Fl 1, Room
                                  103
            Bank Account No.:     China Merchants Bank,
                                  Beijing Chaowaidajie
                                  Branch
The name of the Goods or Taxed    Specification Model         Unit            Number         Price      Total      Tax Rate          Taxes
Labor or Service
Commercial Lease: Rent                                                                                  16180.80   5%                809.04




                                                                                                        16180.80                     809.04
                                                                                     Total   16989.84
Amount                            T
Seller      Name:                 Beijing Could Valley                        Note
                                  Technology Development
                                  Co., Ltd
            Taxpayer              9110108062816398T                                          [SEAL]
            Identification No.:
            Address and Phone
            Bank Account No.:     Bank of Communications                                     Issuer:
                                                  Beijing Value Added Tax Electronic General Invoice
                                                                        (seal)
                                                                                                                                       No. 25256242
                                                                                                                             Invoiced Date: 4/17/2020
Purchaser   Name:                 NetQin Infinity (Beijing)                   passcode
                                  Technology Co., Ltd.
            Taxpayer              911101086615514831
            Identification No.:
            Address and Phone     Beijing City, Haidian
                                  District North Sanhuan
                                  West Road No.31
                                  Building 23, Fl 1, Room
                                  103
            Bank Account No.:     China Merchants Bank,
                                  Beijing Chaowaidajie
                                  Branch
The name of the Goods or Taxed    Specification Model         Unit            Number         Price     Total      Tax Rate          Taxes
Labor or Service
Commercial Lease: Rent                                                                                 95238.10   5%                4761.90




                                                                                     Total   100000
Amount
Seller      Name:                 Beijing Could Valley                        Note
                                  Technology Development
                                  Co., Ltd
            Taxpayer              9110108062816398T                                          [SEAL]
            Identification No.:
            Address and Phone
            Bank Account No.:     Bank of Communications                                     Issuer:
                                               (    ) Reimbursement Form

Company:                5/7/2020
 Summary                                                      6.20.2020-12.31.2020 Rent
 Amount                                                       288805.28
 Number of Attached Invoice

Reviewer:                          Review   Verified or Checked             Handled by:
                                                  Beijing Value Added Tax Electronic General Invoice
                                                                        (seal)
                                                                                                                                       No. 2525261
                                                                                                                             Invoiced Date: 5/8/2020
Purchaser   Name:                 NetQin Infinity (Beijing)                   passcode
                                  Technology Co., Ltd.
            Taxpayer              911101086615514831
            Identification No.:
            Address and Phone     Beijing City, Haidian
                                  District North Sanhuan
                                  West Road No.31
                                  Building 23, Fl 1, Room
                                  103
            Bank Account No.:     China Merchants Bank,
                                  Beijing Chaowaidajie
                                  Branch
The name of the Goods or Taxed    Specification Model         Unit            Number         Price     Total      Tax Rate         Taxes
Labor or Service
Commercial Lease: Rent                                                                                 95238.10   5%               4761.90




                                                                                     Total   100000
Amount                            Ten thousand
Seller      Name:                 Beijing Could Valley                        Note
                                  Technology Development
                                  Co., Ltd
            Taxpayer              9110108062816398T                                          [SEAL]
            Identification No.:
            Address and Phone
            Bank Account No.:     Bank of Communications                                     Issuer:
Xingye Bank

Transaction No.: 2020050730695856

Transaction Amount: 288805.28

Transaction Amount: 288805.28

Transaction Cost: 0.00

Recipient’s Name: Beijing Cloud Valley Technology Development
Co., Ltd.

Recipient’s Account: 321130 100100 249577

Recipient’s Bank: CCB

Transaction Type: In time transaction between different banks

Payer: Lilin Guo

Payer’s Account: 6229 **** 8318*

Payer’s Bank: Xingye Bank

Note: Payment of rent on behalf of NetQin Infinity

Transaction Date: 5/7/2020
                                                  Beijing Value Added Tax Electronic General Invoice
                                                                        (seal)
                                                                                                                                       No. 2525262
                                                                                                                             Invoiced Date: 5/8/2020
Purchaser   Name:                 NetQin Infinity (Beijing)                   passcode
                                  Technology Co., Ltd.
            Taxpayer              911101086615514831
            Identification No.:
            Address and Phone     Beijing City, Haidian
                                  District North Sanhuan
                                  West Road No.31
                                  Building 23, Fl 1, Room
                                  103
            Bank Account No.:     China Merchants Bank,
                                  Beijing Chaowaidajie
                                  Branch
The name of the Goods or Taxed    Specification Model         Unit            Number         Price     Total      Tax Rate         Taxes
Labor or Service
Commercial Lease: Rent                                                                                 95238.10   5%               4761.90




                                                                                     Total   100000
Amount
Seller      Name:                 Beijing Could Valley                        Note
                                  Technology Development
                                  Co., Ltd
            Taxpayer              9110108062816398T                                          [SEAL]
            Identification No.:
            Address and Phone
            Bank Account No.:     Bank of Communications                                     Issuer:
                                                  Beijing Value Added Tax Electronic General Invoice
                                                                        (seal)
                                                                                                                                        No. 2525263
                                                                                                                              Invoiced Date: 5/8/2020
Purchaser   Name:                 NetQin Infinity (Beijing)                   passcode
                                  Technology Co., Ltd.
            Taxpayer              911101086615514831
            Identification No.:
            Address and Phone     Beijing City, Haidian
                                  District North Sanhuan
                                  West Road No.31
                                  Building 23, Fl 1, Room
                                  103
            Bank Account No.:     China Merchants Bank,
                                  Beijing Chaowaidajie
                                  Branch
The name of the Goods or Taxed    Specification Model         Unit            Number         Price      Total      Tax Rate         Taxes
Labor or Service
Commercial Lease: Rent                                                                                  84576.45   5%               4228.82




                                                                                     Total   88805.28
Amount                            T
Seller      Name:                 Beijing Could Valley                        Note
                                  Technology Development
                                  Co., Ltd
            Taxpayer              9110108062816398T                                          [SEAL]
            Identification No.:
            Address and Phone
            Bank Account No.:     Bank of Communications                                     Issuer:
                                            (    ) Reimbursement Form

Company:                5/11/2020
 Summary                                                   Utilities 12.31.19-4.13.20
 Amount                                                    1297.80
 Number of Attached Invoice

Reviewer:                       Review   Verified or Checked               Handled by:
                                                  Beijing Value Added Tax Electronic General Invoice
                                                                        (seal)
                                                                                                                          Invoice No.: 93099765
                                                                                                                           Invoiced Date:5/2020

Purchaser   Name:                 NetQin Infinity (Beijing)                   passcode
                                  Technology Co., Ltd.
            Taxpayer              911101086615514831
            Identification No.:
            Address and Phone     Beijing City, Haidian
                                  District Dongbeiwang Xi
                                  Road No.8 Building,
                                  Building No.4, Floor 3,
                                  Room 317
            Bank Account No.:     China Merchants Bank,
                                  Beijing Chaowaidajie
                                  Branch
The name of the Goods or Taxed    Specification Model         Unit            Number         Price     Total   Tax Rate        Taxes
Labor or Service
Payment of water fees through                                                                          41.45   6%
agent




                                                                                     Total   43.94
Amount
Seller      Name:                 Beijing Zhongguancun                        Note
                                  Hongjia Property
                                  Management Co., Ltd
            Taxpayer              91110108769918611R                                         [SEAL]
            Identification No.:
            Address and Phone
            Bank Account No.:     Beijing Bank                                               Issuer:
                                                  Beijing Value Added Tax Electronic General Invoice
                                                                        (seal)
                                                                                                                           Invoice No.: 23769352
                                                                                                                          Invoiced Date:5/6/2020

Purchaser   Name:                 NetQin Infinity (Beijing)                   passcode
                                  Technology Co., Ltd.
            Taxpayer              911101086615514831
            Identification No.:
            Address and Phone     Beijing City, Haidian
                                  District Dongbeiwang Xi
                                  Road No.8 Building,
                                  Building No.4, Floor 3,
                                  Room 317
            Bank Account No.:     China Merchants Bank,
                                  Beijing Chaowaidajie
                                  Branch
The name of the Goods or Taxed    Specification Model         Unit            Number         Price     Total   Tax Rate        Taxes
Labor or Service
Water fees                                                                                             33.81   3%              1.01




                                                                                     Total   34.02
Amount
Seller      Name:                 Beijing Zhongguancun                        Note
                                  Hongjia Property
                                  Management Co., Ltd
            Taxpayer              91110108769918611R                                         [SEAL]
            Identification No.:
            Address and Phone
            Bank Account No.:     Beijing Bank                                               Issuer:
                                                  Beijing Value Added Tax Electronic General Invoice
                                                                        (seal)
                                                                                                                             Invoice No.: 23769353
                                                                                                                            Invoiced Date:5/6/2020

Purchaser   Name:                 NetQin Infinity (Beijing)                   passcode
                                  Technology Co., Ltd.
            Taxpayer              911101086615514831
            Identification No.:
            Address and Phone     Beijing City, Haidian
                                  District Dongbeiwang Xi
                                  Road No.8 Building,
                                  Building No.4, Floor 3,
                                  Room 317
            Bank Account No.:     China Merchants Bank,
                                  Beijing Chaowaidajie
                                  Branch
The name of the Goods or Taxed    Specification Model         Unit            Number         Price     Total     Tax Rate        Taxes
Labor or Service
Electricity fees                                                                                       1078.80   13%             140.24




                                                                                     Total   1219.04
Amount
Seller      Name:                 Beijing Zhongguancun                        Note
                                  Hongjia Property
                                  Management Co., Ltd
            Taxpayer              91110108769918611R                                         [SEAL]
            Identification No.:
            Address and Phone
            Bank Account No.:     Beijing Bank                                               Issuer:
Payment Form

Company:       8/13/2020
 Pay to                    Zhongguancun Hongjia Property Management Co., Ltd
 Amount                    998.01
 For                       Utilities
                                                  Beijing Value Added Tax Electronic General Invoice
                                                                        (seal)
                                                                                                                            Invoice No.: 02165712
                                                                                                                           Invoiced Date:8/6/2020

Purchaser   Name:                 NetQin Infinity (Beijing)                   passcode
                                  Technology Co., Ltd.
            Taxpayer              911101086615514831
            Identification No.:
            Address and Phone     Beijing City, Haidian
                                  District Dongbeiwang Xi
                                  Road No.8 Building,
                                  Building No.4, Floor 3,
                                  Room 317
            Bank Account No.:     China Merchants Bank,
                                  Beijing Chaowaidajie
                                  Branch
The name of the Goods or Taxed    Specification Model         Unit            Number         Price     Total    Tax Rate        Taxes
Labor or Service
Electricity fees                                                                                       752.04   13%             97.77




                                                                                     Total   849.81
Amount
Seller      Name:                 Beijing Zhongguancun                        Note
                                  Hongjia Property
                                  Management Co., Ltd
            Taxpayer              91110108769918611R                                         [SEAL]
            Identification No.:
            Address and Phone
            Bank Account No.:     Beijing Bank                                               Issuer:
                                                  Beijing Value Added Tax Electronic General Invoice
                                                                        (seal)
                                                                                                                           Invoice No.: 02165713
                                                                                                                          Invoiced Date:8/6/2020

Purchaser   Name:                 NetQin Infinity (Beijing)                   passcode
                                  Technology Co., Ltd.
            Taxpayer              911101086615514831
            Identification No.:
            Address and Phone     Beijing City, Haidian
                                  District Dongbeiwang Xi
                                  Road No.8 Building,
                                  Building No.4, Floor 3,
                                  Room 317
            Bank Account No.:     China Merchants Bank,
                                  Beijing Chaowaidajie
                                  Branch
The name of the Goods or Taxed    Specification Model         Unit            Number         Price     Total   Tax Rate        Taxes
Labor or Service
Water fees                                                                                             63.61   3%              1.91




                                                                                     Total   65.52
Amount
Seller      Name:                 Beijing Zhongguancun                        Note
                                  Hongjia Property
                                  Management Co., Ltd
            Taxpayer              91110108769918611R                                         [SEAL]
            Identification No.:
            Address and Phone
            Bank Account No.:     Beijing Bank                                               Issuer:
                                                  Beijing Value Added Tax Electronic General Invoice
                                                                        (seal)
                                                                                                                           Invoice No.: 26514699
                                                                                                                          Invoiced Date:8/6/2020

Purchaser   Name:                 NetQin Infinity (Beijing)                   passcode
                                  Technology Co., Ltd.
            Taxpayer              911101086615514831
            Identification No.:
            Address and Phone     Beijing City, Haidian
                                  District Dongbeiwang Xi
                                  Road No.8 Building,
                                  Building No.4, Floor 3,
                                  Room 317
            Bank Account No.:     China Merchants Bank,
                                  Beijing Chaowaidajie
                                  Branch
The name of the Goods or Taxed    Specification Model         Unit            Number         Price     Total   Tax Rate        Taxes
Labor or Service
Water fees; resources fees                                                                             78.00   3%              4.68




                                                                                     Total   82.68
Amount
Seller      Name:                 Beijing Zhongguancun                        Note
                                  Hongjia Property
                                  Management Co., Ltd
            Taxpayer              91110108769918611R                                         [SEAL]
            Identification No.:
            Address and Phone
            Bank Account No.:     Beijing Bank                                               Issuer:
Payment Form

Company:       11/10/2020
 Pay to                     Beijing Zhongguancun Software Development Zone Co., Ltd
 Amount                     6154.8
 For                        Internet
                                                  Beijing Value Added Tax Electronic General Invoice
                                                                        (seal)
                                                                                                                              Invoice No.: 24518267
                                                                                                                            Invoiced Date:9/21/2020

Purchaser   Name:                 NetQin Infinity (Beijing)                   passcode
                                  Technology Co., Ltd.
            Taxpayer              911101086615514831
            Identification No.:
            Address and Phone     Beijing City, Haidian
                                  District Dongbeiwang Xi
                                  Road No.8 Building,
                                  Building No.4, Floor 3,
                                  Room 317
            Bank Account No.:     China Merchants Bank,
                                  Beijing Chaowaidajie
                                  Branch
The name of the Goods or Taxed    Specification Model         Unit            Number         Price     Total     Tax Rate         Taxes
Labor or Service
Information Technology Service                                                                         5806.42   6%               348.38
Internet Service



                                                                                                                                  135
                                                                                     Total   6154.80
Amount
Seller      Name:                 Beijing Zhongguancun                        Note
                                  Software Development
                                  Co., Ltd
            Taxpayer              911101087226133785                                         [SEAL]
            Identification No.:
            Address and Phone
            Bank Account No.:     Beijing Bank                                               Issuer:
Xingye Bank

Transaction No.: 2020111003365327

Transaction Amount: 6154.80

Transaction Amount: 6154.80

Transaction Cost: 0.00

Recipient’s Name: Beijing Zhongguancun Software Development
Co., Ltd

Recipient’s Account: 010909 463001 20105004870

Recipient’s Bank: Beijing Bank

Transaction Type: In time transaction between different banks

Payer: Lilin Guo

Payer’s Account: 6229 **** 8318*

Payer’s Bank: Xingye Bank

Note: Payment of internet wireless service on behalf of NetQin
Infinity

Transaction Date: 11/10/2020
ICBC

                                                                                                      Receipt
                                                                                                      Receipt No. 2020010786493301
Date: 1/6/2020

Taxpayer’s Name and Identification No.:     NetQin Infinity (Beijing) Technology Co., Ltd 911101086615514831
Taxpayers’ Account:       9558800200155831981
Payer’s Bank     `        ICBC Beijing Tuanjiehu Branch
Tax Collection Authority: State Administration of Taxation Beijing Haidian District Taxation Bureau

Amount:          742.40          National Treasury Recipient (Bank)’s name: National Treasury Beijing Haidian District Sub-branch
Amount:          742.40          Invoice No,:     620010310026971163
Type of Tax:     Income Tax
Taxed period:    12/01/2019-12/31/2019

Actual Paid:     742.40
                                               (    ) Reimbursement Form

Company:                1/6/2020
 Summary                                                      Tax payment
 Amount                                                       742.40
 Number of Attached Invoice

Reviewer:                          Review   Verified or Checked             Handled by:
                                             (    ) Reimbursement Form

Company:                1/2020
 Summary                                                    Salary
 Amount                                                     20000
 Number of Attached Invoice

Reviewer:                        Review   Verified or Checked            Handled by:
                                            (    ) Reimbursement Form

Company:                2/11/2020
 Summary                                                   Payment of Tax on behalf of Frank
 Amount                                                    2578.40
 Number of Attached Invoice

Reviewer:                       Review   Verified or Checked              Handled by:
ICBC

                                                                                                        Receipt
                                                                                                        Receipt No. 2020021283942391
Date: 2/11/2020

Taxpayer’s Name and Identification No.:     NetQin Infinity (Beijing) Technology Co., Ltd 911101086615514831
Taxpayers’ Account:       9558800200155831981
Payer’s Bank     `        ICBC Beijing Tuanjiehu Branch
Tax Collection Authority: State Administration of Taxation Beijing Haidian District Taxation Bureau

Amount:           2578.40          National Treasury Recipient (Bank)’s name: National Treasury Beijing Haidian District Sub-branch
Amount:           2578.40          Invoice No,:     620021010034593489
Type of Tax:      Income Tax
Taxed period:     1/1/2020-1/31/2020

Actual Paid:      2578.40
                                               (    ) Reimbursement Form

Company:                3/3/2020
 Summary                                                      Payment of Tax on behalf of Frank
 Amount                                                       1368.32
 Number of Attached Invoice

Reviewer:                          Review   Verified or Checked              Handled by:
ICBC

                                                                                                       Receipt
                                                                                                       Receipt No. 2020030422802991
Date: 3/3/2020

Taxpayer’s Name and Identification No.:     NetQin Infinity (Beijing) Technology Co., Ltd 911101086615514831
Taxpayers’ Account:       9558800200155831981
Payer’s Bank     `        ICBC Beijing Tuanjiehu Branch
Tax Collection Authority: State Administration of Taxation Beijing Haidian District Taxation Bureau

Amount:          1368.32          National Treasury Recipient (Bank)’s name: National Treasury Beijing Haidian District Sub-branch
Amount:          1368.32          Invoice No,:     620030310039157716
Type of Tax:     Income Tax
Taxed period:    2/01/2020-2/29/2020

Actual Paid:     1368.32.40
                                             (    ) Reimbursement Form

Company:                3/2020
 Summary                                                    Salary
 Amount                                                     20000
 Number of Attached Invoice

Reviewer:                        Review   Verified or Checked            Handled by:
                                             (    ) Reimbursement Form

Company:                1/2020
 Summary                                                    Frank Labor cost
 Amount                                                     31545
 Number of Attached Invoice

Reviewer:                        Review   Verified or Checked              Handled by:
Xingye Bank

Transaction No.: 2020050939485699

Transaction Amount: 31545.00

Transaction Amount: 31545.00

Transaction Cost: 0.00

Recipient’s Name: Jianfeng Li

Recipient’s Account: 955880 020015 583198

Recipient’s Bank: ICBC

Transaction Type: In time transaction between different banks

Payer: Lilin Guo

Payer’s Account: 6229 **** 8318*

Payer’s Bank: Xingye Bank

Note: Payment of labor fees behalf of NetQin Infinity

Transaction Date: 5/9/2020
Payment Form

Company:       6/10/2020
 Pay to
 Amount                    18250.00
 For                       Payment of employee salary
Xingye Bank

Transaction No.: 2020061085547082

Transaction Amount: 4250.00

Transaction Amount: 4250.00

Transaction Cost: 0.00

Recipient’s Name: Shumin Yan

Recipient’s Account: 621226 020013 1782571

Recipient’s Bank: ICBC

Transaction Type: In time transaction between different banks

Payer: Lilin Guo

Payer’s Account: 6229 **** 8318*

Payer’s Bank: Xingye Bank

Note: Payment of employee salary on behalf of NetQin Infinity

Transaction Date: 06/10/2020
Xingye Bank

Transaction No.: 2020061085552987

Transaction Amount: 4000.00

Transaction Amount: 4000.00

Transaction Cost: 0.00

Recipient’s Name: Kun Hao

Recipient’s Account: 622588 013466 0827

Recipient’s Bank: China Merchants Bank

Transaction Type: In time transaction between different banks

Payer: Lilin Guo

Payer’s Account: 6229 **** 8318*

Payer’s Bank: Xingye Bank

Note: Payment of employee salary on behalf of NetQin Infinity

Transaction Date: 06/10/2020
Xingye Bank

Transaction No.: 2020061085552987

Transaction Amount: 10000.00

Transaction Amount: 10000.00

Transaction Cost: 0.00

Recipient’s Name: Bingjie Zhou

Recipient’s Account: 621483 015551 5736

Recipient’s Bank: China Merchants Bank

Transaction Type: In time transaction between different banks

Payer: Lilin Guo

Payer’s Account: 6229 **** 8318*

Payer’s Bank: Xingye Bank

Note: Payment of employee salary on behalf of NetQin Infinity

Transaction Date: 06/10/2020
Xingye Bank

Transaction No.: 2020072391510950

Transaction Amount: 47760.00

Transaction Amount: 47760.00

Transaction Cost: 0.00

Recipient’s Name: Bingjie Zhou

Recipient’s Account: 621483 015551 5736

Recipient’s Bank: China Merchants Bank

Transaction Type: In time transaction between different banks

Payer: Lilin Guo

Payer’s Account: 6229 **** 8318*

Payer’s Bank: Xingye Bank

Note: Payment of employee annual five insurance and one social
security (Bingjie Zhou) on behalf of NetQin Infinity

Transaction Date: 07/23/2020
8/2019 -7/2020 Employee Five Insurance and One Social Security Reimbursement Agreement

Party A: NetQin Infinity (Beijing) Technology Co., Ltd.

Beijing City, Haidian District Dongbeiwang Xi Road No.8 Building, Building No.4, Floor 3, Room 317

Legal Representative: Lilin Guo

Party B: Bingjie Zhou

ID No.: [omitted]

Address: [omitted]


Both Parties signed a labor service agreement on July 23, 2019, considering Party A unable to transfer
from its bank account due to litigation, Party B agrees in the labor agreement that the Five Insurance
and One Fund can be compensated at once when Party A paying to the company account.
However, after Party A removed the actions with the account the fund were stolen, the labor disputes
and other disputes was unresolved, the bank account was still frozen by the Court and unable to be
used, until the end of the Party A and Party B’s labor agreement on July 22, 2020, the account is still
unable to pay for the Insurance and Fund. Meanwhile, during the valid period of the labor contract,
Party B has been paying the Insurance by themselves, so it is unable to have Party A to pay.
After negotiation by both parties, parties agree that during August 2019 and July 2020, Party A should
have paid the Five Insurance and One Fund, for total of RMB 47760, Party A agreed to compensate
Party B all at once in cash. After party B received the compensation, for the period of August 2019 and
July 2020, Party B will not ask Party A to pay the Five Insurance and One Fund again.
Due to the specific reason above, thus related to the individual taxes, both parties have agreed that

Party B will pay accordingly toward the law.

Party B: Bingjie Zhou

July 22, 2020
Payment Form

Company:       7/23/2020
 Pay to
 Amount                    47760.00
 For                       Payment to Bingjie Zhou re Employee Five Insurance and One Social
                           Security
Payment Form

Company:       8/10/2020
 Pay to
 Amount                    20000
 For                       Payment of employee salary
Xingye Bank

Transaction No.: 2020081075773912

Transaction Amount: 10000.00

Transaction Amount: 10000.00

Transaction Cost: 0.00

Recipient’s Name: Bingjie Zhou

Recipient’s Account: 621483 015551 5736

Recipient’s Bank: China Merchants Bank

Transaction Type: In time transaction between different banks

Payer: Lilin Guo

Payer’s Account: 6229 **** 8318*

Payer’s Bank: Xingye Bank

Note: Payment of employee salary on behalf of NetQin Infinity

Transaction Date: 08/10/2020
Xingye Bank

Transaction No.: 2020081075809072

Transaction Amount: 10000.00

Transaction Amount: 10000.00

Transaction Cost: 0.00

Recipient’s Name: Kun Hao

Recipient’s Account: 622588 013468 0827

Recipient’s Bank: China Merchants Bank

Transaction Type: In time transaction between different banks

Payer: Lilin Guo

Payer’s Account: 6229 **** 8318*

Payer’s Bank: Xingye Bank

Note: Payment of employee salary on behalf of NetQin Infinity

Transaction Date: 08/10/2020
Payment Form

Company:       9/10/2020
 Pay to
 Amount                    20000
 For                       Payment of employee salary
Xingye Bank

Transaction No.: 2020091023201834

Transaction Amount: 10000.00

Transaction Amount: 10000.00

Transaction Cost: 0.00

Recipient’s Name: Kun Hao

Recipient’s Account: 622588 013468 0827

Recipient’s Bank: China Merchants Bank

Transaction Type: In time transaction between different banks

Payer: Lilin Guo

Payer’s Account: 6229 **** 8318*

Payer’s Bank: Xingye Bank

Note: Payment of employee salary on behalf of NetQin Infinity

Transaction Date: 09/10/2020
Xingye Bank

Transaction No.: 2020091023194832

Transaction Amount: 10000.00

Transaction Amount: 10000.00

Transaction Cost: 0.00

Recipient’s Name: Bingjie Zhou

Recipient’s Account: 621483 01551 5736

Recipient’s Bank: China Merchants Bank

Transaction Type: In time transaction between different banks

Payer: Lilin Guo

Payer’s Account: 6229 **** 8318*

Payer’s Bank: Xingye Bank

Note: Payment of employee salary on behalf of NetQin Infinity

Transaction Date: 09/10/2020
Payment Form

Company:       10/10/2020
 Pay to
 Amount                     20000
 For                        Payment of employee salary
Xingye Bank

Transaction No.: 2020101055006884

Transaction Amount: 10000.00

Transaction Amount: 10000.00

Transaction Cost: 0.00

Recipient’s Name: Kun Hao

Recipient’s Account: 622588 013468 0827

Recipient’s Bank: China Merchants Bank

Transaction Type: In time transaction between different banks

Payer: Lilin Guo

Payer’s Account: 6229 **** 8318*

Payer’s Bank: Xingye Bank

Note: Payment of employee salary on behalf of NetQin Infinity

Transaction Date: 10/10/2020
Xingye Bank

Transaction No.: 2020101055032295

Transaction Amount: 10000.00

Transaction Amount: 10000.00

Transaction Cost: 0.00

Recipient’s Name: Bingjie Zhou

Recipient’s Account: 621483 01551 5736

Recipient’s Bank: China Merchants Bank

Transaction Type: In time transaction between different banks

Payer: Lilin Guo

Payer’s Account: 6229 **** 8318*

Payer’s Bank: Xingye Bank

Note: Payment of employee salary on behalf of NetQin Infinity

Transaction Date: 10/10/2020
Payment Form

Company:       10/14/2020
 Pay to                     Bin Weng
 Amount                     30000
 For                        Labor fees
Xingye Bank

Transaction No.: 2020101478101342

Transaction Amount: 30000.00

Transaction Amount: 30000.00

Transaction Cost: 0.00

Recipient’s Name: Bin Weng

Recipient’s Account: 434061 001061 3476

Recipient’s Bank: China Merchants Bank

Transaction Type: In time transaction between different banks

Payer: Lilin Guo

Payer’s Account: 6229 **** 8318*

Payer’s Bank: Xingye Bank

Note: Payment of employee salary on behalf of NetQin Infinity

Transaction Date: 10/14/2020
Payment Form

Company:       11/10/2020
 Pay to
 Amount                     20000
 For                        Payment of employee salary
Xingye Bank

Transaction No.: 2020111003318909

Transaction Amount: 10000.00

Transaction Amount: 10000.00

Transaction Cost: 0.00

Recipient’s Name: Bingjie Zhou

Recipient’s Account: 621483 01551 5736

Recipient’s Bank: China Merchants Bank

Transaction Type: In time transaction between different banks

Payer: Lilin Guo

Payer’s Account: 6229 **** 8318*

Payer’s Bank: Xingye Bank

Note: Payment of employee salary on behalf of NetQin Infinity

Transaction Date: 11/10/2020
Xingye Bank

Transaction No.: 2020111003403105

Transaction Amount: 10000.00

Transaction Amount: 10000.00

Transaction Cost: 0.00

Recipient’s Name: Kun Hao

Recipient’s Account: 622588 013468 0827

Recipient’s Bank: China Merchants Bank

Transaction Type: In time transaction between different banks

Payer: Lilin Guo

Payer’s Account: 6229 **** 8318*

Payer’s Bank: Xingye Bank

Note: Payment of employee salary on behalf of NetQin Infinity

Transaction Date: 11/10/2020
Payment Form

Company:       12/10/2020
 Pay to
 Amount                     20000
 For                        Payment of employee salary
Xingye Bank

Transaction No.: 2020121047610336

Transaction Amount: 10000.00

Transaction Amount: 10000.00

Transaction Cost: 0.00

Recipient’s Name: Kun Hao

Recipient’s Account: 622588 013468 0827

Recipient’s Bank: China Merchants Bank

Transaction Type: In time transaction between different banks

Payer: Lilin Guo

Payer’s Account: 6229 **** 8318*

Payer’s Bank: Xingye Bank

Note: Payment of employee salary on behalf of NetQin Infinity

Transaction Date: 12/10/2020
Xingye Bank

Transaction No.: 2020121047613685

Transaction Amount: 10000.00

Transaction Amount: 10000.00

Transaction Cost: 0.00

Recipient’s Name: Bingjie Zhou

Recipient’s Account: 621483 01551 5736

Recipient’s Bank: China Merchants Bank

Transaction Type: In time transaction between different banks

Payer: Lilin Guo

Payer’s Account: 6229 **** 8318*

Payer’s Bank: Xingye Bank

Note: Payment of employee salary on behalf of NetQin Infinity

Transaction Date: 12/10/2020
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 1 of 160




                   EXHIBIT 3
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 2 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 3 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 4 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 5 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 6 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 7 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 8 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 9 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 10 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 11 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 12 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 13 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 14 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 15 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 16 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 17 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 18 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 19 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 20 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 21 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 22 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 23 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 24 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 25 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 26 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 27 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 28 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 29 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 30 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 31 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 32 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 33 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 34 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 35 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 36 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 37 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 38 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 39 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 40 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 41 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 42 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 43 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 44 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 45 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 46 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 47 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 48 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 49 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 50 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 51 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 52 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 53 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 54 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 55 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 56 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 57 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 58 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 59 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 60 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 61 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 62 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 63 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 64 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 65 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 66 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 67 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 68 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 69 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 70 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 71 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 72 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 73 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 74 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 75 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 76 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 77 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 78 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 79 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 80 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 81 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 82 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 83 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 84 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 85 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 86 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 87 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 88 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 89 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 90 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 91 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 92 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 93 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 94 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 95 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 96 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 97 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 98 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 99 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 100 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 101 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 102 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 103 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 104 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 105 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 106 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 107 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 108 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 109 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 110 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 111 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 112 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 113 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 114 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 115 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 116 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 117 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 118 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 119 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 120 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 121 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 122 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 123 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 124 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 125 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 126 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 127 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 128 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 129 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 130 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 131 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 132 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 133 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 134 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 135 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 136 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 137 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 138 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 139 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 140 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 141 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 142 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 143 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 144 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 145 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 146 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 147 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 148 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 149 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 150 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 151 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 152 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 153 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 154 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 155 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 156 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 157 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 158 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 159 of 160
Case 1:18-cv-11642-VM-VF Document 428-3 Filed 06/01/23 Page 160 of 160
